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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                  Debtor.


              DEBTOR’S MOTION FOR INTERIM AND FINAL ORDERS: (I) PROHIBITING
              UTILITY COMPANIES FROM DISCONTINUING, ALTERING, OR REFUSING
                SERVICE; (II) DEEMING UTILITY COMPANIES TO HAVE ADEQUATE
                ASSURANCE OF PAYMENT; (III) ESTABLISHING PROCEDURES FOR
                   RESOLVING REQUESTS FOR ADDITIONAL ASSURANCE; AND
                                (IV) GRANTING RELATED RELIEF


                     Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

            hereby moves the Court (“Motion”) for entry of an interim order (“Interim Order”) and a

            final order (“Final Order”), substantially in the forms attached hereto as Exhibit A and

            Exhibit B, respectively, pursuant to Sections 105(a) and 366 of Title 11 of the United States

            Code, 11 U.S.C. §§ 101 et. seq. (“Bankruptcy Code”), Rules 6003 and 6004 of the Federal

            Rules of Bankruptcy Procedure (“Bankruptcy Rules”) and Rule 9013-1 of the Local Rules

            of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

            of North Dakota (“Local Rules”): (i) prohibiting utility companies from discontinuing,

            altering, or refusing service to Debtor except as set forth herein; (ii) deeming the utility

            companies to have received adequate assurance of future payment; (iii) establishing

            procedures for resolving requests for additional assurance of payment; and (iv) granting

            related relief.   In addition, Debtor requests the Court schedule a final hearing within

            approximately twenty five days of the Petition Date (as defined below) to consider approval




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            of this Motion on a final basis. In support of this Motion, Debtor relies on the Declaration of

            Jill Motschenbacher in Support of Chapter 11 Petition and First Day Motions (“First Day

            Declaration”), which was filed contemporaneously with this Motion and is incorporated

            herein by reference. In further support of this Motion, Debtor respectfully represents as

            follows:

                                          JURISDICTION AND VENUE

                     1.   The Court has jurisdiction over this Chapter 11 case and this Motion pursuant

            to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b), and

            Debtor consents to entry of a final order by the Court in connection with this Motion to the

            extent it is later determined the Court, absent consent of the parties, cannot enter final order

            or judgments in connection herewith consistent with Article III of the United States

            Constitution. Venue of this Chapter 11 case and this Motion in this district is proper under

            28 U.S.C. §§ 1408 and 1409.

                     2.   The statutory bases for the relief requested herein are Section 105(a) and 366

            of the Bankruptcy Code and the Bankruptcy Rules 6003 and 6004.

                                                  BACKGROUND

            I.       GENERAL

                     3.   On the date hereof (“Petition Date”), Debtor commenced a voluntary case

            under Chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

            business and manage its property as debtor in possession pursuant to Sections 1107(a) and

            1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

            been appointed in this Chapter 11 case. Additional factual background relating to Debtor’s




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            business, capital structure, and the commencement of this Chapter 11 case is set forth in

            further detail in the First Day Declaration.

            II.    DEBTOR’S UTILITY SERVICES AND UTILITY COMPANIES

                   4.      In connection with operation of its business and management of its property,

            Debtor obtains electricity, natural gas, telephone, water, waste disposal, and other similar

            services (collectively “Utility Services”) from multiple utility companies or brokers (each a

            “Utility Company” and collectively the “Utility Companies”). A nonexclusive list of the

            Utility Companies and their affiliates that provide Utility Services to Debtor as of the

            Petition Date (“Utility Services List”) is attached hereto as Exhibit C. 1 The relief requested

            herein is requested with respect to all Utility Companies providing Utility Services to the

            Debtor.

                   5.      Debtor’s operations require electricity and gas for lighting, heating, and air

            conditioning. In addition to operating approximately 138 retail stores as of the Petition Date,

            Debtor maintains a corporate office in Fargo, North Dakota, that requires Utility Services

            such as telephone, internet, water, and waste disposal services. On average, Debtor pays

            approximately $167,795.00 each month for Utility Services.




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                      Debtor has endeavored to identify all of the Utility Companies and list them on the
            Utility Service List. However, inadvertent omissions may have occurred, and the omission form
            the Utility Service List of any entity providing utility services to Debtor shall not be construed as
            an admission, waiver, acknowledgement, or consent that Section 366 of the Bankruptcy Code
            does not apply to such entity. If Debtor identifies any entity was inadvertently excluded from the
            Utility Service List (“Additional Utility Company”), Debtor will promptly provide such entity
            with a copy of this Motion and either the (i) Interim Order or (ii) if entered, the Final Order. In
            addition, the inclusion of any entity on the Utility Service List is not an admission such entity is
            a utility within the meaning of Section 366 of the Bankruptcy Code, and Debtor reserves all
            rights with respect thereto.


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                                              RELIEF REQUESTED

                   6.     Debtor respectfully requests the Court enter the Interim Order, in substantially

            the form attached hereto as Exhibit A, and the Final Order, in substantially the form attached

            hereto as Exhibit B: (i) prohibiting the Utility Companies from altering, refusing, or

            discontinuing Utility Services on account of unpaid prepetition invoices, including the

            making of demands for security deposits, or accelerated payment terms; (ii) determining

            Debtor has provided each Utility Company with “adequate assurance of payment” within the

            meaning of Section 366 of the Bankruptcy Code (“Adequate Assurance”), based, among

            other things, on Debtor’s establishment of a segregated account containing an amount equal

            to 50% of Debtor’s estimated monthly cost of the Utility Services, which may be adjusted by

            Debtor to account for the termination of certain Utility Services by Debtor, by agreement

            between Debtor and the affected Utility Company, or to account for the addition of a Utility

            Company to the Utility Service List; (iii) establishing procedures for determining additional

            Adequate Assurance, if any, and authorizing Debtor to provide Additional Adequate

            Assurance to the Utility Companies (“Additional Adequate Assurance Procedures”); and

            (iv) setting the Final Hearing on the proposed Additional Adequate Assurance Procedures

            within approximately twenty five days of the Petition Date to consider approval of this

            Motion on a final basis.

                   7.     Specifically, with respect to Adequate Assurance, Debtor proposes to establish

            a segregated account containing an initial aggregate amount of $88,897.50, which is equal to

            50% of Debtor’s estimated monthly cost of the Utility Services.




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                                                 BASIS FOR RELIEF

                   8.      The Utility Services are essential to the operation of Debtor’s business and the

            success of the ongoing store closing sales (“Store Closing Sales”) ongoing at Debtor’s retail

            locations. The termination or cessation (even if only temporary) of Utility Services because

            of payment defaults related to prepetition Utility Services would result in a significant

            disruption to Debtor’s business operations and the Store Closing Sales. Unanticipated delays

            in Debtor’s ability to meet its customers’ needs would result in substantial and irreparable

            harm to Debtor and would impair Debtor’s efforts to preserve and maximize the value of its

            estate during this Chapter 11 case. It is, therefore, critical the Utility Services continue

            uninterrupted so as to allow the Store Closing Sales to run their course and generate

            maximum value for the estate.

                   9.      Section 366 of the Bankruptcy Code provides, in a Chapter 11 case, during the

            initial thirty (30) days after the commencement of the case, utilities may not alter, refuse, or

            discontinue service to, or discriminate against, a debtor solely on the basis of the

            commencement of its case or the existence of prepetition debts owed by the debtor. After the

            thirty-day period, however, under Section 366(c) of the Bankruptcy Code, utilities may

            discontinue service to a debtor if the debtor does not provide “adequate assurance of future

            performance” of its postpetition obligations in a form that is satisfactory to the utility, subject

            to the Court’s ability to modify the amount of adequate assurance.                See 11 U.S.C.

            § 366(c)(2).

                   10.     Debtor intends to pay, when due, all undisputed postpetition charges for

            Utility Services, and Debtor expects its cash will be more than sufficient to pay for Debtor’s




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            postpetition use of Utility Services. Nonetheless, Debtor proposes to deposit a sum of

            $88,897.50, which is equal to 50% of Debtor’s estimated monthly cost of the Utility

            Services, into a newly-created segregated bank account within twenty (20) days of the

            Petition Date (“Utility Deposit”) as Adequate Assurance.

                   11.    To the extent Debtor indentifies Additional Utility Companies or discontinues

            services from existing Utility Companies, Debtor seeks authority to add or remove parties

            from the Utility Services List. For any Additional Utility Company, Debtor will serve such

            Additional Utility Company with a copy of the appropriate Court order regarding Utility

            Services, including the Additional Adequate Assurance Procedures, and will increase the

            Utility Deposit by an amount equal to 50% of Debtor’s estimated monthly cost of services

            from the Additional Utility Company. For any Utility Company subsequently removed from

            the Utility Services List, Debtor will decrease the Utility Deposit by an amount equal to 50%

            of Debtor’s estimated monthly cost of services from the removed Utility Company upon

            obtaining the Utility Company’s consent or upon providing negative notice to the Utility

            Company of its intent to reduce the Utility Deposit twenty-one days thereafter. Debtor

            requests the terms of any Utility Services order and the Additional Adequate Assurance

            Procedures apply to any Additional Utility Company.

                   12.    While the form of Adequate Assurance may be limited to the types of security

            enumerated in Section 366(c)(1)(A) of the Bankruptcy Code, the determination of the

            amount of Adequate Assurance is within the discretion of the Court. It is well established

            the requirement a utility receive adequate assurance of payment does not require guarantee of




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            payment. Instead, the protection granted to a utility is intended to avoid exposing the utility

            to an unreasonable risk of nonpayment.

                           ADDITIONAL ADEQUATE ASSURANCE PROCEDURES

                   13.     Debtor submits the Utility Deposit constitutes sufficient Adequate Assurance

            for the Utility Companies. However, should any Utility Company disagree, Debtor proposes

            to establish the Additional Adequate Assurance Procedures (discussed below) under which a

            Utility Company may request additional Adequate Assurance.           If any Utility Company

            believes additional Adequate Assurance is required, it may request such additional assurance

            pursuant to the procedures set forth herein. The proposed “Additional Adequate Assurance

            Procedures” are as follows:

                      i.   Any Utility Company that objects to the Adequate Assurance must
                           serve a request (“Additional Adequate Assurance Request”) on
                           (i) Debtor, 1001 North 25th Street, Fargo, ND 58102, Attn: Jill
                           Motschenbacher; (ii) proposed counsel to Debtor, Vogel Law Firm, 218
                           NP Avenue, PO Box 1389, Fargo, ND 58107-1389, Attn: Jon R.
                           Brakke, Caren W. Stanley; and (iii) counsel to any statutory committee
                           appointed in this Chapter 11 Case (collectively “Notice Parties”).

                     ii.   Any Additional Adequate Assurance Request must be served on the
                           Notice Parties and must : (a) be made in writing; (b) identify the
                           location for which Utility Services are provided; and (c) explain why
                           the Utility Company believes the Adequate Assurance is not sufficient
                           adequate assurance of future payment.

                    iii.   Debtor is authorized to resolve, in its sole discretion, any Additional
                           Adequate Assurance Request by mutual agreement with a Utility
                           Company and without further order of the Court and, in connection
                           with any such agreement, in their sole discretion, provide a Utility
                           Company with alternative adequate assurance of payment, including
                           cash deposits, prepayments, or other forms of security, without further
                           order of the Court, if Debtor believes such alternative assurance is
                           reasonable.

                    iv.    If Debtor is unable to consensually resolve an Additional Adequate
                           Assurance Request by mutual assent within 30 days of receipt of the


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                          Additional Adequate Assurance Request, Debtor shall schedule a
                          hearing (“Determination Hearing”) to determine the appropriate
                          amount of adequate assurance required with respect to such Additional
                          Adequate Assurance Request after such 30-day period has expired.
                          Pending resolution of such Additional Adequate Assurance Request
                          and Determination Hearing, the Utility Company shall be prohibited
                          from altering, refusing, or discontinuing services to Debtor on account
                          of unpaid charges for prepetition services or on account of any
                          objections to the Adequate Assurance.

                   14.    Debtor requests the Final Hearing be held within twenty five days of the

            Petition Date to ensure, if a Utility Company argues it can unilaterally refuse service to

            Debtor on the thirty-first day after the Petition Date, Debtor will have the opportunity, to the

            extent necessary, to request the Court make such modifications to the Additional Adequate

            Assurance Procedures in time to avoid any potential termination of the Utility Services.

                   15.    Debtor’s proposed method of furnishing Adequate Assurance is not prejudicial

            to the rights of any Utility Company and is in the best interest of Debtor’s estate. Because

            uninterrupted Utility Services are vital to the success of the Store Closing Sales and,

            consequently, to the success of this Chapter 11 Case, Debtor submits the relief requested

            herein is necessary and in the best interest of Debtor’s estate and creditors. Such relief

            ensures Debtor’s business operations will not be disrupted during Debtor’s wind down and

            also provides both Utility Companies and Debtor with a fair, orderly procedure for

            determining Adequate Assurance.

                   16.    Accordingly, for all the foregoing reasons, Debtor submits cause exists for

            granting the relief requested herein.




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                                       IMMEDIATE RELIEF IS JUSTIFIED

                   17.     Bankruptcy Rule 6003 provides the relief requested in this Motion may be

            granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr.

            P. 6003. Debtor submits, for the reasons already set forth herein, the relief requested herein

            is necessary to avoid immediate and irreparable harm to Debtor.

                                     WAIVER OF ANY APPLICABLE STAY

                   18.     Debtor also requests the Court waive the stay imposed by Bankruptcy Rule

            6004(h), which provides “[a]n order authorizing the use, sale, or lease of property other than

            cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

            court orders otherwise.” Fed. R. Bankr. P. 6004(h). As described above, the relief requested

            is necessary for Debtor to operate its business and conduct the Store Closing Sales without

            interruption, thereby preserving value for its estate.       Accordingly, Debtor respectfully

            requests the Court waive the fourteen-day stay imposed by Bankruptcy Rule 6004(h), as the

            exigent nature of the relief sought herein justifies immediate relief.

                                                       NOTICE

                   19.     Notice of this Motion has been given to: (i) the Office of the United States

            Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National

            Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

            against Debtor; (iv) the Utility Companies; (v) counsel to any committee appointed in this

            case; and (vi) any party that has requested notice pursuant to Bankruptcy Rule 2002. Debtor

            submits, in light of the nature of the relief requested, no other or further notice need be given.




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                                                   CONCLUSION

                   20.    WHEREFORE, Debtor respectfully requests entry of the Interim Order and

            Final Order, substantially in the forms attached hereto as Exhibit A and Exhibit B,

            respectfully, (i) granting the relief requested herein; and (ii) granting such other relief as is

            just and proper.

                   Dated this 1st day of March, 2017.


                                                         VOGEL LAW FIRM


                                                    BY: /s/ Caren W. Stanley
                                                        Jon R. Brakke (#03554)
                                                        jbrakke@vogellaw.com
                                                        Caren W. Stanley (#06100)
                                                        cstanley@vogellaw.com
                                                        218 NP Avenue
                                                        PO Box 1389
                                                        Fargo, ND 58107-1389
                                                        Telephone: 701.237.6983
                                                        PROPOSED COUNSEL TO DEBTOR IN
                                                        POSSESSION




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                                            EXHIBIT A

                                          (Interim Order)




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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                              Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                                  Debtor.


                   INTERIM ORDER: (I) PROHIBITING UTILITY COMPANIES FROM
                DISCONTINUING, ALTERING, OR REFUSING SERVICE; (II) DEEMING
               UTILITY COMPANIES TO HAVE ADEQUATE ASSURANCE OF PAYMENT;
                (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS FOR
                 ADDITIONAL ASSURANCE; AND (IV) GRANTING RELATED RELIEF


                     Upon the Motion 1 of Debtor for entry of this Interim Order pursuant to Sections

            105(a) and 366 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and Local Rule

            9013-1: (i) prohibiting the Utility Companies from altering, refusing, or discontinuing Utility

            Services on account of unpaid prepetition invoices, including the making of demands for

            security deposits or accelerated payment terms; (ii) determining Debtor has provided each

            Utility Company with Adequate Assurance; and (iii) establishing the Additional Adequate

            Assurance Procedures; and upon consideration of the First Day Declaration and the entire

            record of this Chapter 11 Case; and it appearing this Court has jurisdiction to consider the

            Motion pursuant to 28 U.S.C. §§ 1334 and 157; and it appearing the Motion is a core matter

            pursuant to 28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with

            Article III of the United States Constitution; and it appearing venue of this Chapter 11 case

            and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing due

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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            and adequate notice of the Motion has been given under the circumstances, and no other or

            further notice need be given; and it appearing the relief requested in the Motion is in the best

            interests of Debtor’s estate, its creditors, and other parties in interest; and after due

            deliberation, and good and sufficient cause appearing therefore,

                   IT IS HEREBY ORDERED:

                   1.     The Motion is GRANTED on an interim basis as set forth herein.

                   2.     The Final Hearing on the Motion shall be held on ________________, 2017,

            at __:__ _.m., prevailing Central Time. Any objections or responses to entry of a final order

            on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on

            ________________, 2017, and shall be served on the Notice Parties. If no objections to

            entry of a final order on the Motion are timely received, this Court may enter such final order

            without further notice or hearing.

                   3.     Debtor shall serve a copy of the Motion and this Interim Order on each Utility

            Company listed on the Utility Services list no later than two business days after the date this

            Interim Order is entered.

                   4.     Debtor is authorized to pay on a timely basis in accordance with its prepetition

            practices all undisputed invoices for postpetition Utility Services provided by the Utility

            Companies to Debtor.

                   5.     No later than twenty days after the Petition Date, Debtor shall cause the Utility

            Deposit to be deposited into a segregated account and held during the pendency of this

            Chapter 11 Case.




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                   6.        The Utility Deposit shall constitute assurance of future payment as required by

            Section 366 of the Bankruptcy Code.

                   7.        Until such time as this Court enters a final order on the Motion or as otherwise

            ordered by this Court, all Utility Companies are prohibited from altering, refusing, or

            discontinuing services on account of any unpaid prepetition charges, the commencement of

            this Chapter 11 Case, or any perceived inadequacy of the Adequate Assurance.

                   8.        The following Additional Adequate Assurance Procedures are hereby

            approved on an interim basis:

                        i.   Any Utility Company that objects to the Adequate Assurance must
                             serve a request (“Additional Adequate Assurance Request”) on
                             (i) Debtor, 1001 North 25th Street, Fargo, ND 58102, Attn: Jill
                             Motschenbacher; (ii) proposed counsel to Debtor, Vogel Law Firm,
                             218 NP Avenue, PO Box 1389, Fargo, ND 58107-1389, Attn: Jon R.
                             Brakke, Caren W. Stanley; and (iii) counsel to any statutory committee
                             appointed in this Chapter 11 case (collectively “Notice Parties”).

                    ii.      Any Additional Adequate Assurance Request must be served on the
                             Notice Parties and must : (a) be made in writing; (b) identify the
                             location for which Utility Services are provided, and (c) explain why
                             the Utility Company believes the Adequate Assurance is not sufficient
                             adequate assurance of future payment.

                   iii.      Debtor is authorized to resolve, in its sole discretion, any Additional
                             Adequate Assurance Request by mutual agreement with a Utility
                             Company and without further order of the Court and, in connection
                             with any such agreement, in their sole discretion, provide a Utility
                             Company with alternative adequate assurance of payment, including
                             cash deposits, prepayments, or other forms of security, without further
                             order of the Court, if Debtor believes such alternative assurance is
                             reasonable.

                    iv.      If Debtor is unable to consensually resolve an Additional Adequate
                             Assurance Request by mutual assent within 30 days of receipt of the
                             Adequate Assurance Request, Debtor shall schedule a hearing
                             (“Determination Hearing”) to determine the appropriate amount of
                             adequate assurance required with respect to such Additional Adequate
                             Assurance Request after such 30-day period has expired. Pending


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                          resolution of such Additional Adequate Assurance Request and
                          Determination Hearing, the Utility Company shall be prohibited from
                          altering, refusing, or discontinuing services to Debtor on account of
                          unpaid charges for prepetition services or on account of any objections
                          to the Adequate Assurance.

                   9.     The Utility Companies are prohibited from requiring additional adequate

            assurance of payment other than pursuant to the Additional Adequate Assurance Procedures.

                   10.    All Utility Companies that do not serve an Additional Adequate Assurance

            Request shall be: (i) deemed to have received adequate assurance of payment “satisfactory”

            to such Utility Company in compliance with Section 366 of the Bankruptcy Code; and

            (ii) prohibited from discontinuing, altering, or refusing services to, or discriminating against,

            Debtor on account of any unpaid prepetition charges, or requiring additional assurance of

            payment other than the Adequate Assurance.

                   11.    Debtor is authorized, in its sole discretion, to add or remove any Utility

            Company from the Utility Services List, and Debtor shall add to or subtract from the Utility

            Deposit an amount equal to 50% of Debtor’s estimated monthly cost for each subsequently-

            added or removed Utility Company as soon as practicable. For Utility Companies added to

            the Utility Services List, Debtor will serve a copy of this Interim Order, including the

            Additional Adequate Assurance Procedures, on such subsequently-added Utility Company,

            and augment the Utility Deposit with an amount equal to 50% of the Debtor’s estimated

            monthly cost for such added Utility Company within 20 days of its addition. Any Utility

            Company subsequently added to the Utility Services List shall be bound by the Additional

            Adequate Assurance Procedures, provided any subsequently-added Utility Company must

            serve, on the Notice Parties, any Additional Adequate Assurance Request. Debtor shall have




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            authority to reduce the Utility Deposit to reflect terminated utility service upon either

            (a) obtaining the affected Utility Company’s consent to reduce the Utility Deposit or

            (b) providing such affected Utility Company with twenty one days’ notice of its intent to

            reduce the Utility Deposit and receiving no response thereto.

                   12.    The relief granted herein is for all Utility Companies providing Utility

            Services to Debtor listed on the Utility Services List, provided, however, this Interim Order

            shall be binding on any Utility Companies listed on any amended Utility Services List filed

            with this Court as of the date of service of the notice of the amended Utility Services List.

                   13.    Nothing contained in the Motion, this Interim Order, nor Debtor’s service of

            the Motion upon the Utility Services List, shall constitute an admission or concession each

            such entity is a “utility” within the meaning of Section 366 of the Bankruptcy Code, and

            Debtor’s rights and defenses with respect thereto are fully reserved.

                   14.    Notwithstanding the relief granted herein and any actions taken hereunder,

            nothing contained in the Motion or this Interim Order, or any payment made pursuant to this

            Interim Order shall constitute, nor is it intended to constitute, an admission as to the validity

            or priority of any claim or lien against Debtor, a waiver of the Debtor’s rights to

            subsequently dispute such claim or lien, or the assumption or adoption of any agreement,

            contract, or lease under Section 365 of the Bankruptcy Code.

                   15.    Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

            Motion is necessary to avoid immediate and irreparable harm to Debtor.

                   16.    Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

            Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not subject




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            to any stay in the implementation, enforcement, or realization of the relief granted in this

            Order; and (iii) Debtor is authorized and empowered to, and may in its discretion and without

            further delay, take any action necessary or appropriate to implement this Order.

                   17.    This Court shall retain exclusive jurisdiction with respect to all matters arising

            from or related to the implementation, interpretation, and enforcement of this Interim Order.

                   Dated this ____ day of March, 2017.



                                                        _______________________________________
                                                        UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT B

                                            (Final Order)




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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA


            In Re:                                              Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                                   Debtor.


                     FINAL ORDER: (I) PROHIBITING UTILITY COMPANIES FROM
                DISCONTINUING, ALTERING, OR REFUSING SERVICE; (II) DEEMING
               UTILITY COMPANIES TO HAVE ADEQUATE ASSURANCE OF PAYMENT;
                (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS FOR
                 ADDITIONAL ASSURANCE; AND (IV) GRANTING RELATED RELIEF


                     Upon the Motion 1 of Debtor for entry of this Final Order pursuant to Sections 105(a)

            and 366 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and Local Rule 9013-1

            (i) prohibiting the Utility Companies from altering, refusing, or discontinuing Utility

            Services on account of unpaid prepetition invoices, including the making of demands for

            security deposits or accelerated payment terms; (ii) determining Debtor has provided each

            Utility Company with Adequate Assurance; and (iii) establishing the Additional Adequate

            Assurance Procedures; and upon consideration of the First Day Declaration and the entire

            record of this Chapter 11 case; and it appearing this Court has jurisdiction to consider the

            Motion pursuant to 28 U.S.C. §§ 1334 and 157; and it appearing the Motion is a core matter

            pursuant to 28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with

            Article III of the United States Constitution; and it appearing venue of this Chapter 11 case

            and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing due

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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            and adequate notice of the Motion has been given under the circumstances, and that no other

            or further notice need be given; and the Court having previously entered certain Interim

            Order: (i) Prohibiting Utility Companies from Discontinuing, Altering, or Refusing Service,

            (ii) Deeming Utility Companies to Have Adequate Assurance of Payment, (iii) establishing

            Procedures for Resolving Requests for Additional Assurance, and (iv) Granting Related

            Relief (Doc. No. _____); and it appearing the relief requested in the Motion is in the best

            interests of Debtor’s estate, its creditors, and other parties in interest; and after due

            deliberation, and good and sufficient cause appearing therefore,

                   IT IS HEREBY ORDERED:

                   1.     The Motion is GRANTED on a final basis as set forth herein.

                   2.     Debtor shall serve a copy of the Motion and this Final Order on each Utility

            Company listed on the Utility Services list no later than two business days after the date this

            Final Order is entered.

                   3.     Debtor is authorized to pay on a timely basis in accordance with its prepetition

            practices all undisputed invoices for postpetition Utility Services provided by the Utility

            Companies to Debtor.

                   4.     To the extent not already done, Debtor is authorized to cause the Utility

            Deposit to be held in a segregated account during the pendency of this Chapter 11 Case.

                   5.     The Utility Deposit shall constitute assurance of future payment as required by

            Section 366 of the Bankruptcy Code.




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                  6.        All Utility Companies are prohibited from altering, refusing, or discontinuing

            services on account of any unpaid prepetition charges, the commencement of this Chapter 11

            Case, or any perceived inadequacy of the Adequate Assurance.

                  7.        The following Additional Adequate Assurance Procedures are hereby

            approved:

                       i.   Any Utility Company that objects to the Adequate Assurance must
                            serve a request (“Additional Adequate Assurance Request”) on
                            (i) Debtor, 1001 North 25th Street, Fargo, ND 58102, Attn: Jill
                            Motschenbacher; (ii) proposed counsel to Debtor, Vogel Law Firm,
                            218 NP Avenue, PO Box 1389, Fargo, ND 58107-1389, Attn: Jon R.
                            Brakke, Caren W. Stanley; and (iii) counsel to any statutory committee
                            appointed in this Chapter 11 Case (collectively “Notice Parties”).

                    ii.     Any Additional Adequate Assurance Request must be served on the
                            Notice Parties and must : (a) be made in writing; (b) identify the
                            location for which Utility Services are provided, and (c) explain why
                            the Utility Company believes the Adequate Assurance is not sufficient
                            adequate assurance of future payment.

                   iii.     Debtor is authorized to resolve, in its sole discretion, any Additional
                            Adequate Assurance Request by mutual agreement with a Utility
                            Company and without further order of the Court and, in connection
                            with any such agreement, in their sole discretion, provide a Utility
                            Company with alternative adequate assurance of payment, including
                            cash deposits, prepayments, or other forms of security, without further
                            order of the Court, if Debtor believes such alternative assurance is
                            reasonable.

                   iv.      If Debtor is unable to consensually resolve an Additional Adequate
                            Assurance Request by mutual assent within 30 days of receipt of the
                            Adequate Assurance Request, Debtor shall schedule a hearing
                            (“Determination Hearing”) to determine the appropriate amount of
                            adequate assurance required with respect to such Additional Adequate
                            Assurance Request after such 30-day period has expired. Pending
                            resolution of such Additional Adequate Assurance Request and
                            Determination Hearing, the Utility Company shall be prohibited from
                            altering, refusing, or discontinuing services to Debtor on account of
                            unpaid charges for prepetition services or on account of any objections
                            to the Adequate Assurance.



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                   8.     The Utility Companies are prohibited from requiring additional adequate

            assurance of payment other than pursuant to the Additional Adequate Assurance Procedures.

                   9.     All Utility Companies that do not serve an Adequate Assurance Request shall

            be: (i) deemed to have received adequate assurance of payment “satisfactory” to such Utility

            Company in compliance with Section 366 of the Bankruptcy Code; and (ii) prohibited from

            discontinuing, altering, or refusing services to, or discriminating against, Debtor on account

            of any unpaid prepetition charges, or requiring additional assurance of payment other than

            the Adequate Assurance.

                   10.    Debtor is authorized, in its sole discretion, to add or remove any Utility

            Company from the Utility Services List, and Debtor shall add to or subtract from the Utility

            Deposit an amount equal to 50% of Debtor’s estimated monthly cost for each subsequently-

            added or removed Utility Company as soon as practicable. For Utility Companies added to

            the Utility Services List, Debtor will serve a copy of this Final Order, including the

            Additional Adequate Assurance Procedures, on such subsequently-added Utility Company,

            and augment the Utility Deposit with an amount equal to 50% of the Debtors’ estimated

            monthly cost for such added Utility Company within 20 days of its addition. Any Utility

            Company subsequently added to the Utility Services List shall be bound by the Additional

            Adequate Assurance Procedures, provided any subsequently-added Utility Company must

            serve, on the Notice Parties, any Additional Adequate Assurance Request. Debtor shall have

            authority to reduce the Utility Deposit to reflect terminated utility service upon either

            (a) obtaining the affected Utility Company’s consent to reduce the Utility Deposit or




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            (b) providing such affected Utility Company with twenty one days’ notice of its intent to

            reduce the Utility Deposit and receiving no response thereto.

                   11.     The relief granted herein is for all Utility Companies providing Utility

            Services to Debtor and is not limited to those parties or entities on the Utility Services List.

                   12.     Nothing contained in the Motion, this Final Order, nor Debtor’s service of the

            Motion upon the Utility Services List, shall constitute an admission or concession each such

            entity is a “utility” within the meaning of Section 366 of the Bankruptcy Code, and Debtor’s

            rights and defenses with respect thereto are fully reserved.

                   13.     Notwithstanding the relief granted herein and any actions taken hereunder,

            nothing contained in the Motion or this Final Order, or any payment made pursuant to this

            Final Order shall constitute, nor is it intended to constitute, an admission as to the validity or

            priority of any claim or lien against Debtor, a waiver of the Debtor’s rights to subsequently

            dispute such claim or lien, or the assumption or adoption of any agreement, contract, or lease

            under Section 365 of the Bankruptcy Code.

                   14.     Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

            Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not subject

            to any stay in the implementation, enforcement, or realization of the relief granted in this

            Order; and (iii) Debtor is authorized and empowered to, and may in its discretion and without

            further delay, take any action necessary or appropriate to implement this Order.

                   15.     Debtor is authorized to take all actions necessary to effectuate the relief

            granted in this Final Order in accordance with the Motion.




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                   16.    This Court shall retain exclusive jurisdiction with respect to all matters arising

            from or related to the implementation, interpretation, and enforcement of this Final Order.

                   Dated this ____ day of March, 2017.



                                                        _______________________________________
                                                        UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT C

                                        (Utility Services List)




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                                                                         VANITY SHOP OF GRAND FORKS, INC.

                                                                                             Utilities
                                                                                       As of March 1, 2017
                                                                                         Average
                                                                                         Monthly   Proposed
                                                                                       Expenditure Adequate
Store #                 Vendor Name (Utility)   Account No.         Detailed Type           s      Assurance            Address Line 1           Address Line 2                       City                     State   Zip
  2       0732 SIMON PROP GROUP LP              Landlord          Lease‐Utilities         $890.00     $445.00   7675 RELIABLE PARKWAY                              CHICAGO                                     IL       60686
  3       COLUMBIA MALL PARTNERS                Landlord          Lease‐Utilities          $20.00      $10.00   COLUMBIA GRAND FORKS LLC    PO BOX 77069           CLEVELAND OH                                         44194
  3       COLUMBIA MALL PARTNERS                Landlord          Lease‐Utilities          $70.00      $35.00   COLUMBIA GRAND FORKS LLC    PO BOX 77069           CLEVELAND OH                                         44194




                                                                                                                                                                                        Case 17-30112
  3       XCEL ENERGY                           51‐5851740‐3      Electricity             $430.00     $215.00   PO BOX 9477                                        MINNEAPOLI MN                                        55484
  4       KIRKWOOD MALL ACQUISITION             Landlord          Lease‐Utilities          $30.00      $15.00   LLC                         NW 6227, PO BOX 1450   MINNEAPOLI MN                                        55485
  4       MONTANA‐DAKOTA UTILITIES              978 961 1000 0    Electrical/Gas          $400.00     $200.00   P.O. BOX 5600                                      BISMARCK                                    ND       58506
  4       WASTE MANAGEMENT OF WI‐MN             4‐09356‐53002     Waste Services          $600.00     $300.00   PO BOX 4648                                        CAROL STREAIL                                        60197
  5       WEST ACRES DEVELOPMENT LP             Landlord          Lease‐Utilities          $30.00      $15.00   3902 13TH AVENUE SOUTH      SUITE #3717            FARGO                                       ND       58103
  5       FARGO, CITY OF                        6604001069        Water/Sewer              $50.00      $25.00   P.O. BOX 1066                                      FARGO                                       ND       58107
  5       WEST ACRES DEVELOPMENT LP             Landlord          Lease‐Utilities         $100.00      $50.00   3902 13TH AVENUE SOUTH      SUITE #3717            FARGO                                       ND       58103
  5       CASS COUNTY ELECTRIC COOP             966705            Electricity             $610.00     $305.00   PO BOX 6088                                        FARGO                                       ND       58108
  7       GREAT PLAINS NATURAL GAS              242 600 2000 3    Gas                     $140.00      $70.00   PO BOX 5600                                        BISMARCK                                    ND       58506




                                                                                                                                                                                        Doc 12
  7       OTTER TAIL POWER COMPANY              01‐020050         Electrical              $460.00     $230.00   PO BOX 2002                                        FERGUS FALL MN                                       56538
  8       BAXTER, CITY OF                       14136 Baxter Dr Ste Water/Sewer            $60.00      $30.00   BOX 2626                                           BAXTER                                      MN       56425
  8       WESTGATE MALL REALTY GRP              Landlord          Lease‐Utilities          $70.00      $35.00   NW 6360                     PO BOX 1450            MINNEAPOLI MN                                        55485
  8       CENTERPOINT ENERGY                    5992941‐4         Gas                     $200.00     $100.00   PO BOX 4671                                        HOUSTON                                     TX       77210




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  8       BRAINERD PUBLIC UTILITIES             18 51900‐00       Electricity             $530.00     $265.00   PO BOX 373                                         BRAINERD                                    MN       56401




                                                                                                                                                                    Document
  9       BEMIDJI HOLDINGS LLC                  Landlord          Lease‐Utilities         $140.00      $70.00   C/O LEXINGTON REALTY INTL   911 E COUNTY LINE RD #207 LAKEWOOD NJ                                        8701
  9       OTTER TAIL POWER COMPANY              10‐004138         Electrical              $470.00     $235.00   PO BOX 2002                                        FERGUS FALL MN                                       56538
  10      CENTERPOINT ENERGY                    6048701‐4         Gas                      $20.00      $10.00   PO BOX 4671                                        HOUSTON                                     TX       77210
  10      WEST CENTRAL SANITATION               1007600           Waste Services           $90.00      $45.00   P.O. BOX 796                                       WILLMAR                                     MN       56201
  10      WILLMAR MUNICIPAL UTIL.               30901001          Electrical/Water/S      $470.00     $235.00   P.O. BOX 937                                       WILLMAR                                     MN       56201
  11      MIDAMERICAN ENERGY                    47580‐53031       Gas                      $20.00      $10.00   PO BOX 8020                                        DAVENPORT IA                                         52808
  11      EMPIRE MALL, LLC                      Landlord          Lease‐Utilities          $70.00      $35.00   PO BOX 83388                                       CHICAGO                                     IL       60691




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  11      EMPIRE MALL, LLC                      Landlord          Lease‐Utilities         $230.00     $115.00   PO BOX 83388                                       CHICAGO                                     IL       60691
  11      EMPIRE MALL, LLC                      Landlord          Lease‐Utilities         $710.00     $355.00   PO BOX 83388                                       CHICAGO                                     IL       60691
  12      CENTERPOINT ENERGY                    6086778‐5         Gas                      $20.00      $10.00   PO BOX 4671                                        HOUSTON                                     TX       77210
  12      SUSTAINABLE SOLUTIONS GRP             VAN3014041        Waste Services          $150.00      $75.00   DEPT 40299                  PO BOX 740209          ATLANTA                                     GA       30374
  12      GGP LIMITED PARTNERSHIP               Landlord          Lease‐Utilities         $760.00     $380.00   RIVER HILLS MALL, LLC       PO BOX 772836          CHICAGO                                     IL       60677
  13      GGP‐SILVER LAKE MALL LLC              Landlord          Lease‐Utilities          $20.00      $10.00   SDS‐12‐2322                 PO BOX 86              MINNEAPOLI MN                                        55486
  13      INTERNATIONAL                         VANITYNA          Waste Services          $170.00      $85.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE        CHICAGO                                     IL       60673
  13      AVISTA                                9997310000        Electricity/Gas         $370.00     $185.00   1411 E MISSION AVE                                 SPOKANE                                     WA       99252
  15      KETER ENVIRONMENTAL                   1208070           Waste Services          $110.00      $55.00   SERVICES, INC               PO BOX 417468          BOSTON                                      MA        2241
  15      RIMROCK OWNER LP                      Landlord          Lease‐Utilities         $950.00     $475.00   MS 39                       PO BOX 4100            PORTLAND                                    OR       97208
  16      GALLATIN MALL GROUP, LLC              Landlord          Lease‐Utilities          $40.00      $20.00   C/O CORNING COMPANIES       PO BOX 80510           BILLINGS                                    MT       59108
  16      NORTHWESTERN ENERGY                   1176184‐8         Electrical/Gas          $380.00     $190.00                                                      BUTTE                                       MT       59707
  18      SM RUSHMORE MALL LLC                  Landlord          Lease‐Utilities         $140.00      $70.00   PO BOX 849456                                      LOS ANGELESCA                                        90084
  18      SM RUSHMORE MALL LLC                  Landlord          Lease‐Utilities         $800.00     $400.00   PO BOX 849456                                      LOS ANGELESCA                                        90084




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19   GREAT PLAINS CLINIC         Landlord          Lease‐Utilities        $80.00     $40.00   MEDICAL ENTERPRISES LLC     PO BOX 2121            DICKINSON ND                                    58602
19   MONTANA‐DAKOTA UTILITIES    829 322 1000 6    Electrical            $380.00    $190.00   P.O. BOX 5600                                      BISMARCK                                   ND   58506
20   WILLISTON, CITY OF          01927‐00          Water/Sewer            $40.00     $20.00   WATER DEPARTMENT            PO BOX 1306            WILLISTON                                  ND   58802
20   MONTANA‐DAKOTA UTILITIES    186 052 1000 6    Electrical/Gas        $580.00    $290.00   P.O. BOX 5600                                      BISMARCK                                   ND   58506
22   DETROIT LAKES, CITY OF      07‐035380‐02      Electrical            $250.00    $125.00   UTILITIES                   PO BOX 647             DETROIT LAK MN                                  56502
22   MINNESOTA ENERGY            0505511519‐00001 Gas                    $360.00    $180.00   RESOURCES                   PO BOX 3140            MILWAUKEE WI                                    53201
25   DEPENDABLE SANITATION       6926              Waste Services         $40.00     $20.00   PO BOX 378                                         ABERDEEN                                   SD   57402
25   WATERTOWN MUNICIPAL         008‐00012687‐01   Electrical            $510.00    $255.00   UTILITIES                   901 FOURTH AVENUE SW   WATERTOWNSD                                     57201
26   DAKOTA SQUARE MALL CMBS     Landlord          Lease‐Utilities        $30.00     $15.00   PO BOX 5551                                        CAROL STREAIL                                   60197
26   MONTANA‐DAKOTA UTILITIES    554 141 1000 1    Gas                    $60.00     $30.00   P.O. BOX 5600                                      BISMARCK                                   ND   58506
26   WASTE MANAGEMENT OF WI‐MN   5‐41057‐43007     Waste Services        $180.00     $90.00   PO BOX 4648                                        CAROL STREAIL                                   60197




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26   VERENDRYE ELECTRIC COOP     1569900           Electrical            $360.00    $180.00   615 HIGHWAY 52 WEST                                VELVA                                      ND   58790
27   ST. CLOUD, CITY OF          62281             Water/Sewer            $30.00     $15.00   PO BOX 1501                                        ST. CLOUD                                  MN   56302
27   KETER ENVIRONMENTAL         1106088           Waste Services        $260.00    $130.00   SERVICES, INC               PO BOX 417468          BOSTON                                     MA   2241
27   XCEL ENERGY                 51‐5560685‐8      Electrical/Gas        $890.00    $445.00   PO BOX 9477                                        MINNEAPOLI MN                                   55484
28   SM SOUTHERN HILLS MALL      Landlord          Lease‐Utilities        $60.00     $30.00   PO BOX 6180‐GSZ001          SOUTHERN HILLS MALL    HICKSVILLE                                 NY   11802
28   MIDAMERICAN ENERGY          20180‐12059       Gas                   $100.00     $50.00   PO BOX 8020                                        DAVENPORT IA                                    52808
28   SM SOUTHERN HILLS MALL      Landlord          Lease‐Utilities       $180.00     $90.00   PO BOX 6180‐GSZ001          SOUTHERN HILLS MALL    HICKSVILLE                                 NY   11802
28   SM SOUTHERN HILLS MALL      Landlord          Lease‐Utilities      $1,270.00   $635.00   PO BOX 6180‐GSZ001          SOUTHERN HILLS MALL    HICKSVILLE                                 NY   11802
31   WEST CENTRAL SANITATION     4442700           Waste Services         $40.00     $20.00   P.O. BOX 796                                       WILLMAR                                    MN   56201




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31   ALP UTILITIES               18477‐001         Electricity          $1,040.00   $520.00   PO BOX 609                                         ALEXANDRIA MN                                   56308
32   WASTE MANAGEMENT OF WI‐MN   4‐03875‐93009     Waste Services         $40.00     $20.00   PO BOX 4648                                        CAROL STREAIL                                   60197
32   MINNESOTA ENERGY            0506451827‐00001 Gas                     $90.00     $45.00   RESOURCES                   PO BOX 3140            MILWAUKEE WI                                    53201
32   PUBLIC UTILITY COMMISSION   500575‐100575     Electrical            $380.00    $190.00   G.R.P.U.C.                  P.O. BOX 658           GRAND RAPIDMN                                   55744




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35   BUTTE‐SILVER BOW, CITY OF   M1522000‐00       Water                  $30.00     $15.00   WATER UTILITY DIVISION      PO BOX 667             BUTTE                                      MT   59703




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35   NORTHWESTERN ENERGY         1819492‐8         Electrical/Gas        $620.00    $310.00                                                      BUTTE                                      MT   59707
36   GK HOLIDAY VILLAGE, LLC     Landlord          Lease‐Utilities        $20.00     $10.00   PO BOX 713762                                      CINCINNATI OH                                   45271
36   INTERNATIONAL               VANITYNA          Waste Services        $120.00     $60.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE        CHICAGO                                    IL   60673
36   ENERGY WEST ‐ MONTANA       210516268         Gas                   $160.00     $80.00   PO BOX 2229                                        GREAT FALLS MT                                  59403
36   NORTHWESTERN ENERGY         3081292‐9         Electrical            $380.00    $190.00                                                      BUTTE                                      MT   59707
42   DEPARTMENT OF PUBLIC        511.7120.1        Electricity/Gas/Wa    $890.00    $445.00   UTILITIES                   PO BOX 1048            VIRGINIA                                   MN   55792
46   JANESVILLE WATER & WASTE    94035‐31336       Water/Sewer            $90.00     $45.00   18 N JACKSON ST             PO BOX 5005            JANESVILLE WI                                   53547




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46   ALLIANT ENERGY              5039310000        Electricity/Gas       $730.00    $365.00   PO BOX 3062                                        CEDAR RAPIDIA                                   52406
47   FOX RIVER SHOPPING CENTER   Landlord          Lease‐Utilities        $90.00     $45.00   GENERAL GROWTH PROPERTIES SDS‐12‐1360 PO BOX 86    MINNEAPOLI MN                                   55486
47   INTERNATIONAL               VANITYNA          Waste Services        $150.00     $75.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE        CHICAGO                                    IL   60673
47   FOX RIVER SHOPPING CENTER   Landlord          Lease‐Utilities       $180.00     $90.00   GENERAL GROWTH PROPERTIES SDS‐12‐1360 PO BOX 86    MINNEAPOLI MN                                   55486
47   FOX RIVER SHOPPING CENTER   Landlord          Lease‐Utilities       $860.00    $430.00   GENERAL GROWTH PROPERTIES SDS‐12‐1360 PO BOX 86    MINNEAPOLI MN                                   55486
48   SOUTHRIDGE LP               Landlord          Lease‐Utilities        $70.00     $35.00   PO BOX 404831                                      ATLANTA                                    GA   30384
48   SOUTHRIDGE LP               Landlord          Lease‐Utilities       $570.00    $285.00   PO BOX 404831                                      ATLANTA                                    GA   30384
49   TAUBMAN‐AUBURN HILLS ASSO   Landlord          Water/Sewer            $25.00     $12.50   DEPARTMENT 124501           PO BOX 67000           DETROIT                                    MI   48267
49   INTERNATIONAL               VANITYNA          Waste Services        $170.00     $85.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE        CHICAGO                                    IL   60673
49   TAUBMAN‐AUBURN HILLS ASSO   Landlord          Electrical            $500.00    $250.00   DEPARTMENT 124501           PO BOX 67000           DETROIT                                    MI   48267
51   WAUSAU WATER WORKS          550720002         Water/Sewer/Fire       $20.00     $10.00   PO BOX 3051                                        MILWAUKEE WE                                    53201
51   WISCONSIN PUBLIC SERVICE    0408375423‐00002 Gas                     $80.00     $40.00   PO BOX 3140                                        MILWAUKEE WI                                    53201
51   MID‐AMERICA ASSET MGMT      Landlord          Electrical            $330.00    $165.00   ONE PARKVIEW PLAZA          9TH FLR‐WAUSAU CNTR CMBOAKBROOK T IL                                   60181
54   INDEPENDENCE CENTER         Landlord          Lease‐Utilities       $830.00    $415.00   SPG INDEPDENCE CENTER LLC   PO BOX 644182          PITTSBURGH PA                                   15264




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60   STAR‐WEST GATEWAY, LLC      Landlord          Lease‐Utilities       $30.00    $15.00   PO BOX 912661                                     DENVER                                      CO   80291
60   KETER ENVIRONMENTAL         1201086           Waste Services       $170.00    $85.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241
60   LINCOLN ELECTRIC SYSTEM     730851503         Electrical           $290.00   $145.00   PO BOX 2986                                       OMAHA                                       NE   68103
61   WESTROADS MALL ‐ GGPLP      Landlord          Lease‐Utilities      $100.00    $50.00   SDS‐12‐1531               PO BOX 86               MINNEAPOLI MN                                    55486
65   NORTHWESTERN ENERGY         2628518‐9         Gas                   $40.00    $20.00                                                     BUTTE                                       MT   59707
65   MID‐NEBRASKA DISPOSAL       Vanity‐Conestoga MWaste Services        $90.00    $45.00   PO BOX 1089                                       GRAND ISLANNE                                    68802
65   GRAND ISLAND, CITY OF       4913100           Electrical/Water/S   $440.00   $220.00   UTILITIES DEPARMENT       PO BOX 310446           DES MOINES IA                                    50331
66   NORTHWESTERN ENERGY         3080753‐1         Gas                   $10.00     $5.00                                                     BUTTE                                       MT   59707
66   KEARNEY, CITY OF            150211000‐002     Water/Sewer/Was      $170.00    $85.00   UTILITIES DEPARTMENT      P.O. BOX 1180           KEARNEY                                     NE   68848
66   NEBRASKA PUBLIC POWER       2.1101E+11        Electrical           $270.00   $135.00   DISTRICT                  PO BOX 2860             OMAHA                                       NE   68103
67   BLACK HILLS ENERGY          4936 6797 63      Gas                  $380.00   $190.00   PO BOX 6001                                       RAPID CITY                                  SD   57709




                                                                                                                                                                   Case 17-30112
67   NEBRASKA PUBLIC POWER       2.1101E+11        Electrical           $390.00   $195.00   DISTRICT                  PO BOX 2860             OMAHA                                       NE   68103
68   BLACK HILLS ENERGY          2567 3113 79      Gas                   $20.00    $10.00   PO BOX 6001                                       RAPID CITY                                  SD   57709
68   NORFOLK, CITY OF            126496307         Water/Sewer           $40.00    $20.00   309 N 5TH ST                                      NORFOLK                                     NE   68701
68   WASTE CONNECTIONS           3052‐106611       Waste Services       $170.00    $85.00   OF NEBRASKA, INC.         PO BOX 660177           DALLAS                                      TX   75266
68   NEBRASKA PUBLIC POWER       2.1101E+11        Electrical           $500.00   $250.00   DISTRICT                  PO BOX 2860             OMAHA                                       NE   68103
69   MUNICIPAL LIGHT AND WATER   064‐00010720‐02   Water/Sewer           $20.00    $10.00   PO BOX 490                                        NORTH PLATTNE                                    69103
69   NORTHWESTERN ENERGY         2885581‐5         Gas                  $110.00    $55.00                                                     BUTTE                                       MT   59707
69   SCHABEN SANITATION INC      3047‐111144       Waste Services       $120.00    $60.00   PO BOX 660177                                     DALLAS                                      TX   75266
69   MUNICIPAL LIGHT AND WATER   064‐00010715‐02   Electrical           $290.00   $145.00   PO BOX 490                                        NORTH PLATTNE                                    69103




                                                                                                                                                                   Doc 12
70   INTERNATIONAL               VANITYNA          Waste Services       $160.00    $80.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
70   PINE RIDGE MALL JC, LLC     Landlord          Lease‐Utilities      $430.00   $215.00   PO BOX 561                                        POCATELLO ID                                     83204
71   INTERNATIONAL               VANITYNA          Waste Services       $230.00   $115.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
71   IDAHO FALLS, CITY OF        2014708           Electrical/Water/S   $400.00   $200.00   UTILITY DIVISION          PO BOX 50220            IDAHO FALLS ID                                   83405




                                                                                                                                               Filed 03/01/17 Entered 03/01/17 09:28:57
72   MAGIC VALLEY PARTNERS, LP   Landlord          Lease‐Utilities       $50.00    $25.00   ATTN: CHANIE ADAMS        1485 POLE LINE RD E #OFC TWIN FALLS ID                                   83301




                                                                                                                                               Document
72   INTERMOUNTAIN GAS CO.       592 921 3000 8    Gas                  $240.00   $120.00   P.O. BOX 64                                       BOISE                                       ID   83732
72   IDAHO POWER CORPORATION     2204073221        Electrical           $350.00   $175.00   PROCESSING CENTER         PO BOX 34966            SEATTLE                                     WA   98124
73   MIDAMERICAN ENERGY          41051‐37025       Gas                   $10.00     $5.00   PO BOX 8020                                       DAVENPORT IA                                     52808
73   KETER ENVIRONMENTAL         1043137           Waste Services       $140.00    $70.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241
73   GGP JORDAN CREEK LLC        Landlord          Lease‐Utilities      $630.00   $315.00   SDS‐12‐2423               PO BOX 86               MINNEAPOLI MN                                    55486
74   BOISE MALL LLC              Landlord          Lease‐Utilities       $30.00    $15.00   SDS‐12‐3074               PO BOX 86               MINNEAPOLI MN                                    55486
74   KETER ENVIRONMENTAL         1049104           Waste Services       $150.00    $75.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241




                                                                                                                                                             Page 28 of 44
74   IDAHO POWER CORPORATION     2203202888        Electrical           $260.00   $130.00   PROCESSING CENTER         PO BOX 34966            SEATTLE                                     WA   98124
75   GGPLP PRIME, LLC            Landlord          Lease‐Utilities       $80.00    $40.00   OAKWOOD HILLS MALL, LLC   PO BOX 772848           CHICAGO                                     IL   60677
75   KETER ENVIRONMENTAL         1109092           Waste Services       $240.00   $120.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241
75   GGPLP PRIME, LLC            Landlord          Lease‐Utilities      $310.00   $155.00   OAKWOOD HILLS MALL, LLC   PO BOX 772848           CHICAGO                                     IL   60677
75   AVISTA                      4134020000        Electricity          $330.00   $165.00   1411 E MISSION AVE                                SPOKANE                                     WA   99252
75   GGPLP PRIME, LLC            Landlord          Lease‐Utilities      $510.00   $255.00   OAKWOOD HILLS MALL, LLC   PO BOX 772848           CHICAGO                                     IL   60677
76   SPOKANE MALL L.L.C.         Landlord          Lease‐Utilities       $60.00    $30.00   SDS‐12‐3098               PO BOX 86               MINNEAPOLI MN                                    55486
76   INTERNATIONAL               VANITYNA          Waste Services       $250.00   $125.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
76   AVISTA                      5657450000        Electricity          $800.00   $400.00   1411 E MISSION AVE                                SPOKANE                                     WA   99252
77   SOUTHBRIDGE MALL            Landlord          Lease‐Utilities       $30.00    $15.00   MALL MANAGEMENT OFFICE    100 SOUTH FEDERAL AVE   MASON CITY IA                                    50401
77   PRECISION WASTE SOLUTIONS   40490             Waste Services       $220.00   $110.00   PO BOX 18856                                      SHREVEPORT LA                                    71138
77   ALLIANT ENERGY              6348031000        Electricity/Gas      $420.00   $210.00   PO BOX 3060                                       CEDAR RAPIDIA                                    52406
78   INTERNATIONAL               VANITYNA          Waste Services        $20.00    $10.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
78   NEWGATE MALL EQUITIES LLC   Landlord          Lease‐Utilities       $50.00    $25.00   KEYBANK                   PO BOX 74616            CLEVELAND OH                                     44194




                                                                                                                                                                   Desc Mai
78    ROCKY MOUNTAIN POWER           25952956‐004 9     Electrical           $910.00   $455.00                              PO BOX 26000          PORTLAND                                   OR   97256
80    KETER ENVIRONMENTAL            1086104            Waste Services       $320.00   $160.00   SERVICES, INC              PO BOX 417468         BOSTON                                     MA   2241
80    GGP‐GRANDVILLE LLC             Landlord           Electrical/Gas       $430.00   $215.00   SDS 12‐1796                PO BOX 86             MINNEAPOLI MN                                   55486
81    JOHNSON CITY UTILITY           256‐05300‐07       Water/Sewer           $10.00     $5.00   SYSTEM                     PO BOX 2386           JOHNSON CITTN                                   37605
81    INTERNATIONAL                  VANITYNA           Waste Services       $240.00   $120.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE      CHICAGO                                    IL   60673
81    JOHNSON CITY POWER BOARD       190492001          Electrical           $560.00   $280.00   PO BOX 2058                                      JOHNSON CITTN                                   37605
82    ATMOS ENERGY                   3012808819         Gas                   $50.00    $25.00   PO 790311                                        ST. LOUIS                                  MO   63179
82    MURFREESBORO ELECTRIC          124714001          Electrical           $530.00   $265.00   DEPARTMENT                 PO BOX 9              MURFREESBOTN                                    37133
82    REPUBLIC SERVICES #841         3‐0841‐0011088     Waste Services       $870.00   $435.00   PO BOX 9001099                                   LOUISVILLE KY                                   40290
83    CLARKSVILLE GAS & WATER        004‐8073.302       Water/Sewer           $80.00    $40.00   PO BOX 31329                                     CLARKSVILLE TN                                  37040
83    GOVERNOR'S SQUARE COMPANY      Landlord           Lease‐Utilities      $230.00   $115.00   PO BOX 932434                                    CLEVELAND OH                                    44193




                                                                                                                                                                      Case 17-30112
83    CLARKSVILLE DEPARTMENT OF      219224‐002         Electricity          $500.00   $250.00   ELECTRICITY                PO BOX 31449          CLARKSVILLE TN                                  37040
84    CONSUMERS ENERGY               1000 1772 5316     Gas                   $70.00    $35.00   PAYMENT CENTER             PO BOX 740309         CINCINNATI OH                                   45274
84    REPUBLIC SERVICES #237         3‐0237‐0070051     Waste Services       $180.00    $90.00   PO BOX 9001099                                   LOUISVILLE KY                                   40290
84    FASHION SQUARE MALL            Landlord           Electrical           $670.00   $335.00   REALTY LLC, DEPT 3116      75 REMITTANCE DRIVE   CHICAGO                                    IL   60675
88    QUESTAR GAS COMPANY            3631050000         Gas                   $10.00     $5.00   PO BOX 45841                                     SALT LAKE CITUT                                 84139
88    INTERNATIONAL                  VANITYNA           Waste Services       $160.00    $80.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE      CHICAGO                                    IL   60673
88    LOGAN, CITY OF                 27162              Electrical/Water/S   $310.00   $155.00   290 NORTH 100 WEST         PO BOX 328            LOGAN                                      UT   84323
90    AQUA OHIO INC                  002321022 1351464Water                   $10.00     $5.00   PO BOX 1229                                      NEWARK                                     NJ   7101
90    LAKE COUNTY DEPT OF            d49‐00205‐00       Sewer                 $30.00    $15.00   4705 N GENOA STREET                              OTIS ORCHARWA                                   99027




                                                                                                                                                                      Doc 12
90    THE ILLUMINATING COMPANY       110 120 324 352    Electrical           $330.00   $165.00   PO BOX 3687                                      AKRON                                      OH   44309
90    DOMIONION EAST OHIO            9 1800 0192 6018   Gas                  $350.00   $175.00   PO BOX 26785                                     RICHMOND VA                                     23261
92    KETER ENVIRONMENTAL            1065058            Waste Services       $200.00   $100.00   SERVICES, INC              PO BOX 417468         BOSTON                                     MA   2241
92    GENERAL GROWTH PROPERTIES      Landlord           Lease‐Utilities      $960.00   $480.00   SDS‐12‐1361                PO BOX 86             MINNEAPOLI MN                                   55486




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94    LAYTON HILLS MALL CMBS         Landlord           Lease‐Utilities       $40.00    $20.00   LAYTON HILLS MALL          PO BOX 74677          CLEVELAND OH                                    44194




                                                                                                                                                  Document
94    ROCKY MOUNTAIN POWER           22788291‐003 6     Electrical           $670.00   $335.00                              PO BOX 26000          PORTLAND                                   OR   97256
96    CHARTER TOWNSHIP OF MERIDIAN   MALL‐000245‐0000‐Water/Sewer             $40.00    $20.00   PO BOX 1400                                      OKEMOS                                     MI   48805
96    MERIDIAN MALL LTD PTNRSHP      Landlord           Electrical           $450.00   $225.00   CBL #0379                  PO BOX 955607         ST LOUIS                                   MO   63195
96    MERIDIAN MALL LTD PTNRSHP      Landlord           Lease‐Utilities      $590.00   $295.00   CBL #0379                  PO BOX 955607         ST LOUIS                                   MO   63195
98    PELLITTERI WASTE SYSTEMS       116074             Waste Services        $80.00    $40.00   PO BOX 259426                                    MADISON                                    WI   53725
98    MADISON GAS AND ELECTRIC       24689275           Electrical/Gas       $500.00   $250.00   P.O. BOX 1231                                    MADISON                                    WI   53701
100   BELMONT COUNTY SANITARY        101‐41000‐06       Water/Sewer           $40.00    $20.00   SEWER DISTRICT             PO BOX 457            ST CLAIRSVILLOH                                 43950




                                                                                                                                                                Page 29 of 44
100   OHIO VALLEY MALL COMPANY       Landlord           Lease‐Utilities      $290.00   $145.00   PO BOX 932400                                    CLEVELAND OH                                    44193
100   AMERICAN ELECTRIC POWER        075‐728‐510‐5‐8    Electricity          $970.00   $485.00   PO BOX 24002                                     CANTON                                     OH   44701
104   GGPLP PRIME, LLC               Landlord           Lease‐Utilities       $60.00    $30.00   OAKWOOD HILLS MALL, LLC    PO BOX 772848         CHICAGO                                    IL   60677
104   GGPLP PRIME, LLC               Landlord           Lease‐Utilities      $110.00    $55.00   OAKWOOD HILLS MALL, LLC    PO BOX 772848         CHICAGO                                    IL   60677
104   INTERNATIONAL                  VANITYNA           Waste Services       $190.00    $95.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE      CHICAGO                                    IL   60673
104   GGPLP PRIME, LLC               Landlord           Lease‐Utilities      $620.00   $310.00   OAKWOOD HILLS MALL, LLC    PO BOX 772848         CHICAGO                                    IL   60677
105   PR VALLEY VIEW                 Landlord           Lease‐Utilities       $30.00    $15.00   LIMITED PARTNERSHIP        PO BOX #73822         CLEVELAND OH                                    44193
105   INTERNATIONAL                  VANITYNA           Waste Services        $90.00    $45.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE      CHICAGO                                    IL   60673
105   XCEL ENERGY                    52‐5000801‐4       Electrical           $400.00   $200.00   PO BOX 9477                                      MINNEAPOLI MN                                   55484
106   SIMON CAPITAL LIMITED          Landlord           Lease‐Utilities      $180.00    $90.00   PARTNERSHIP, BAY PARK SQ   PO BOX 776438         CHICAGO                                    IL   60677
106   WISCONSIN PUBLIC SERVICE       0404359863‐00002 Electrical/Gas         $430.00   $215.00   PO BOX 3140                                      MILWAUKEE WI                                    53201
108   GGP‐GLENBROOK LLC              Landlord           Lease‐Utilities       $50.00    $25.00   PO BOX 776250                                    CHICAGO                                    IL   60677
108   SUSTAINABLE SOLUTIONS GRP      VAN3014021         Waste Services       $140.00    $70.00   DEPT 40299                 PO BOX 740209         ATLANTA                                    GA   30374
108   INDIANA MICHIGAN POWER         047‐232‐122‐6‐4    Electrical           $340.00   $170.00   PO BOX 24407                                     CANTON                                     OH   44701




                                                                                                                                                                      Desc Mai
109   SIMON PROPERTY GROUP LP     Landlord           Lease‐Utilities        $80.00     $40.00   2307 SIMON PROPERTY GRP     867731 RELIABLE PARKWAY CHICAGO                                     IL   60686
109   SIMON PROPERTY GROUP LP     Landlord           Lease‐Utilities      $1,220.00   $610.00   2307 SIMON PROPERTY GRP     867731 RELIABLE PARKWAY CHICAGO                                     IL   60686
110   VECTREN ENERGY DELIVERY     02‐620422936‐5692 Gas                     $20.00     $10.00   PO BOX 6248                                         INDIANAPOLI IN                                   46206
110   INDIANA AMERICAN WATER      1010‐210007520715Water/911                $50.00     $25.00   PO BOX 3027                                         MILWAUKEE WI                                     53201
110   MUNCIE SANITARY DISTRICT    53 03696 08        Sewer                  $70.00     $35.00   PO BOX 2605                                         FORT WAYNEIN                                     46801
110   MUNCIE MALL, LLC            Landlord           Lease‐Utilities       $160.00     $80.00   P.O. BOX 809046                                     CHICAGO                                     IL   60680
110   INDIANA MICHIGAN POWER      043‐716‐932‐6‐0    Electrical            $620.00    $310.00   PO BOX 24407                                        CANTON                                      OH   44701
111   NORTHWESTERN ENERGY         2523762‐9          Gas                    $10.00      $5.00                                                       BUTTE                                       MT   59707
111   A‐1 SANITATION              VVV390             Waste Services         $70.00     $35.00   38435 133RD ST                                      ABERDEEN                                    SD   57401
111   NORTHERN ELECTRIC COOP      12532              Electrical            $460.00    $230.00   BOX 457                                             BATH                                        SD   57427
112   GREENWOOD PARK MALL, LLC    Landlord           Lease‐Utilities      $1,180.00   $590.00   867695 RELIABLE PARKWAY                             CHICAGO                                     IL   60686




                                                                                                                                                                         Case 17-30112
114   VECTREN ENERGY DELIVERY     03‐401620195‐2306 Gas                     $80.00     $40.00   P.O. BOX 6262                                       INDIANAPOLI IN                                   46206
114   DAYTON POWER & LIGHT        4745363285         Electricity           $420.00    $210.00   PO BOX 740598                                       CINCINNATI OH                                    45274
115   INTERNATIONAL               VANITYNA           Waste Services         $60.00     $30.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                     IL   60673
115   VECTREN ENERGY DELIVERY     03‐401620195‐2365 Gas                     $90.00     $45.00   P.O. BOX 6262                                       INDIANAPOLI IN                                   46206
115   DAYTON POWER & LIGHT        5935677498         Electricity           $510.00    $255.00   PO BOX 740598                                       CINCINNATI OH                                    45274
116   CITY OF LIMA ‐ UTILITIES    B15‐02890‐03       Water/Sewer            $20.00     $10.00   PO BOX 183199                                       COLUMBUS OH                                      43218
116   AMERICAN ELECTRIC POWER     078‐425‐528‐4‐1    Electricity          $1,080.00   $540.00   PO BOX 24002                                        CANTON                                      OH   44701
117   YOUNGSTOWN WATER            160618‐003         Water/Sewer            $20.00     $10.00   DEPARTMENT                  PO BOX 6219             YOUNGSTOWOH                                      44501
117   DOMIONION EAST OHIO         7 1800 0017 7379   Gas                    $30.00     $15.00   PO BOX 26785                                        RICHMOND VA                                      23261




                                                                                                                                                                         Doc 12
117   OHIO EDISON                 110 115 772 904    Electrical            $340.00    $170.00   PO BOX 3687                                         AKRON                                       OH   44309
122   ST MALL OWNER, LLC          Landlord           Lease‐Utilities        $70.00     $35.00   PO BOX 101612                                       PASADENA                                    CA   91189
122   KETER ENVIRONMENTAL         1902102            Waste Services        $150.00     $75.00   SERVICES, INC               PO BOX 417468           BOSTON                                      MA   2241
122   ROCKY MOUNTAIN POWER        25952956‐003 1     Electrical            $280.00    $140.00                               PO BOX 26000            PORTLAND                                    OR   97256




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124   TRI COUNTY MALL LLC         Landlord           Lease‐Utilities        $10.00      $5.00   DEPT 781919                 PO BOX 78000            DETROIT                                     MI   48278




                                                                                                                                                     Document
124   OLYMPIC IV MALL SERVICES    39 0032660         Waste Services        $110.00     $55.00   PO BOX 96383                                        LAS VEGAS                                   NV   89193
124   TRI COUNTY MALL LLC         Landlord           Lease‐Utilities       $270.00    $135.00   DEPT 781919                 PO BOX 78000            DETROIT                                     MI   48278
124   DUKE ENERGY                 3380‐0805‐28‐2     Electrical            $390.00    $195.00   PO BOX 1326                                         CHARLOTTE NC                                     28201
126   SOUTHGATE MALL ASSOCIATES   Landlord           Lease‐Utilities       $920.00    $460.00   LLP                         2901 BROOKS ST          MISSOULA                                    MT   59801
128   GGPLP LLC                   Landlord           Lease‐Utilities        $20.00     $10.00   PDC‐EASTRIDGE MALL L.L.C.   PO BOX 772862           CHICAGO                                     IL   60677
128   INTERNATIONAL               VANITYNA           Waste Services        $180.00     $90.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                     IL   60673
128   GGPLP LLC                   Landlord           Lease‐Utilities       $790.00    $395.00   PDC‐EASTRIDGE MALL L.L.C.   PO BOX 772862           CHICAGO                                     IL   60677




                                                                                                                                                                   Page 30 of 44
129   FRONTIER MALL               Landlord           Lease‐Utilities        $30.00     $15.00   1400 DELL RANGE BLVD        MANAGEMENT OFFICE       CHEYENNE                                    WY   82009
129   FRONTIER MALL               Landlord           Lease‐Utilities       $850.00    $425.00   1400 DELL RANGE BLVD        MANAGEMENT OFFICE       CHEYENNE                                    WY   82009
130   SUSTAINABLE SOLUTIONS GRP   VAN3008051         Waste Services         $90.00     $45.00   DEPT 40299                  PO BOX 740209           ATLANTA                                     GA   30374
130   MIDAMERICAN ENERGY          79340 ‐ 20100      Electrical            $240.00    $120.00   PO BOX 8020                                         DAVENPORT IA                                     52808
131   BLACK HAWK WASTE DISP INC   Vanity‐College Squa Waste Services       $180.00     $90.00   PO BOX 2592                                         WATERLOO IA                                      50704
131   COLLEGE SQUARE REALTY LLC   Landlord           Lease‐Utilities       $400.00    $200.00   C/O NAMDAR REALTY GROUP     150 GREAT NECK RD, STE 30 GREAT NECK NY                                  11021
131   CEDAR FALLS UTILITIES       7933735810         Electricity/Gas/Wa $1,120.00     $560.00   UTILITY PARKWAY             PO BOX 769              CEDAR FALLS IA                                   50613
132   FORT DODGE, CITY OF         107‐0168‐00‐01     Water/Sewer            $40.00     $20.00   DEPT 1019                   PO BOX 121019           DALLAS                                      TX   75312
132   PEDERSON SANITATION CORP    6613               Waste Services         $50.00     $25.00   PO BOX 1001                                         FORT DODGE IA                                    50501
132   MIDAMERICAN ENERGY          08910‐85050        Electrical/Gas        $530.00    $265.00   PO BOX 8020                                         DAVENPORT IA                                     52808
133   ALLIANT ENERGY              7370651000         Electricity/Gas        $30.00     $15.00   PO BOX 3060                                         CEDAR RAPIDIA                                    52406
133   CHITTY GARBAGE SERVICE      669777             Waste Services        $110.00     $55.00   PO BOX 29                                           NEVADA                                      IA   50201
133   AMES MUNICIPAL UTILITIES    28635‐53236        Electricity/Water/    $510.00    $255.00   PO BOX 811                                          AMES                                        IA   50010
136   CIII JPM06‐CIBC16           Landlord           Lease‐Utilities        $10.00      $5.00   WESTFIELD RICHLAND MALL     2209 RICHLAND MALL      MANSFIELD OH                                     44906




                                                                                                                                                                         Desc Mai
136   COLUMBIA GAS                16610072 005 000 3Gas                   $160.00     $80.00   PO BOX 742510                                     CINCINNATI OH                                    45274
136   INTERNATIONAL               VANITYNA          Waste Services        $310.00    $155.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
136   OHIO EDISON                 110 042 699 139   Electrical            $490.00    $245.00   PO BOX 3687                                       AKRON                                       OH   44309
137   LINDALE MALL LLC            Landlord          Lease‐Utilities        $40.00     $20.00   PO BOX 849454                                     LOS ANGELESCA                                    90084
137   LINDALE MALL LLC            Landlord          Lease‐Utilities       $130.00     $65.00   PO BOX 849454                                     LOS ANGELESCA                                    90084
137   ALLIANT ENERGY              4022751000        Electricity/Gas       $370.00    $185.00   PO BOX 3060                                       CEDAR RAPIDIA                                    52406
138   BLACK HILLS ENERGY          1317 1295 21      Gas                    $30.00     $15.00   PO BOX 6001                                       RAPID CITY                                  SD   57709
138   DUBUQUE, CITY OF            21589‐0           Water/Sewer            $50.00     $25.00   UTILITY BILLING OFFICE    PO BOX 1063             DUBUQUE                                     IA   52004
138   KENNEDY MALL LTD            Landlord          Lease‐Utilities       $240.00    $120.00   PO BOX 932400                                     CLEVELAND OH                                     44193
138   ALLIANT ENERGY              1362880000        Electricity/Gas       $580.00    $290.00   PO BOX 3060                                       CEDAR RAPIDIA                                    52406
139   WESTLAND MALL PARTNERS      Landlord          Lease‐Utilities        $30.00     $15.00   PO BOX 77065                                      CLEVELAND OH                                     44194




                                                                                                                                                                      Case 17-30112
139   AEC YIELD CAPITAL, LLC      1034031           Waste Services         $80.00     $40.00   801 BOULDER DR            APT 418                 DULUTH                                      MN   55811
139   DEEP GREEN WASTE &          1034031           Waste Services         $80.00     $40.00   RECYCLING, LLC            P.O. BOX 102657         ATLANTA                                     GA   30368
139   ALLIANT ENERGY              5982190000        Gas                   $240.00    $120.00   PO BOX 3060                                       CEDAR RAPIDIA                                    52406
139   ALLIANT ENERGY              0650311000        Electricity           $630.00    $315.00   PO BOX 3060                                       CEDAR RAPIDIA                                    52406
140   PERU GKD PARTNERS LLC       Landlord          Lease‐Utilities        $80.00     $40.00   PO BOX 809301                                     CHICAGO                                     IL   60680
140   CITY OF PERU                01‐020317‐03      Electricity/Water/    $600.00    $300.00   1901 FOURTH STREET        PO BOX 299              PERU                                        IL   61354
141   O'FALLON WATER & SEWER      12860             Water                  $20.00     $10.00   255 S. LINCOLN AVENUE                             O'FALLON                                    IL   62269
141   CASEYVILLE TOWNSHIP         020 3720 00 ®     Sewer                  $40.00     $20.00   SEWER                     PO BOX 1900             FAIRVIEW HE IL                                   62208
141   AMEREN ILLINOIS             8368218154        Electricity/Gas       $450.00    $225.00   PO BOX 88034                                      CHICAGO                                     IL   60680




                                                                                                                                                                      Doc 12
145   STERLING HEIGHTS, CITY OF   500888            Water/Sewer           $165.00     $82.50   DEPARTMENT 181601         PO BOX 55000            DETROIT                                     MI   48255
145   KETER ENVIRONMENTAL         1068113           Waste Services        $200.00    $100.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241
145   LAKESIDE MALL PROPERTY      Landlord          Electrical            $830.00    $415.00   SDS‐12‐2772               PO BOX 86               MINNEAPOLI MN                                    55486
147   DEPARTMENT OF UTILITIES     34839‐24612       Water/Sewer            $20.00     $10.00   CITY OF QUINCY            730 MAINE STREET        QUINCY                                      IL   62301




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147   REPUBLIC SERVICES #928      3‐0928‐0012943    Waste Services        $160.00     $80.00   PO BOX 9001154                                    LOUISVILLE KY                                    40290




                                                                                                                                                  Document
147   AMEREN ILLINOIS             4223004910        Electricity/Gas       $380.00    $190.00   PO BOX 88034                                      CHICAGO                                     IL   60680
148   FLORENCE MALL LLC           Landlord          Lease‐Utilities        $40.00     $20.00   PO BOX 860080                                     MINNEAPOLI MN                                    55486
148   FLORENCE MALL LLC           Landlord          Lease‐Utilities       $200.00    $100.00   PO BOX 860080                                     MINNEAPOLI MN                                    55486
148   KETER ENVIRONMENTAL         1062163           Waste Services        $430.00    $215.00   SERVICES, INC             PO BOX 417468           BOSTON                                      MA   2241
148   FLORENCE MALL LLC           Landlord          Lease‐Utilities       $890.00    $445.00   PO BOX 860080                                     MINNEAPOLI MN                                    55486
148   FLORENCE MALL LLC           Landlord          Lease‐Utilities      $1,200.00   $600.00   PO BOX 860080                                     MINNEAPOLI MN                                    55486
152   THE ENERGY COOPERATIVE      9914969703        Gas                    $40.00     $20.00   PO BOX 740467                                     CINCINNATI OH                                    45274




                                                                                                                                                                Page 31 of 44
152   COLONY SQUARE MALL LLC      Landlord          Lease‐Utilities        $50.00     $25.00   SDS‐12‐1344               PO BOX 86               MINNEAPOLI MN                                    55486
152   INTERNATIONAL               VANITYNA          Waste Services        $150.00     $75.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                     IL   60673
152   COLONY SQUARE MALL LLC      Landlord          Lease‐Utilities       $730.00    $365.00   SDS‐12‐1344               PO BOX 86               MINNEAPOLI MN                                    55486
163   KENNEWICK, CITY OF          47000661‐03       Water/Sewer            $45.00     $22.50   PO BOX 6108                                       KENNEWICK WA                                     99336
163   COLUMBIA MALL PARTNERSHIP   Landlord          Lease‐Utilities       $150.00     $75.00   6130 PAYSPHERE CIRCLE                             CHICAGO                                     IL   60674
163   BENTON PUD                  9209122130        Electricity           $310.00    $155.00   2721 W 10TH AVE           PO BOX 6270             KENNEWICK WA                                     99336
164   OLYMPIC MALL SERVICES       19‐0051760        Waste Services        $110.00     $55.00   PO BOX 800336                                     HOUSTON                                     TX   77280
164   COLORADO SPRINGS            7923 4502 85      Gas                   $250.00    $125.00   UTILITIES                 PO BOX 340              COLORADO S CO                                    80947
164   CITADEL MALL REALTY, LLC    Landlord          Lease‐Utilities       $960.00    $480.00   C/O NAMDAR REALTY GROUP   150 GREAT NECK RD, STE304 GREAT NECK NY                                  11021
165   RENAISSANCE PARTNERS        Landlord          Lease‐Utilities        $50.00     $25.00   I, LLC                    PO BOX 678021           DALLAS                                      TX   75267
165   WASTE MANAGEMENT ‐ PUEBLO   8‐91191‐93002     Waste Services        $150.00     $75.00   PO BOX 78251                                      PHOENIX                                     AZ   85062
165   RENAISSANCE PARTNERS        Landlord          Lease‐Utilities      $1,400.00   $700.00   I, LLC                    PO BOX 678021           DALLAS                                      TX   75267
166   AEC YIELD CAPITAL, LLC      1103033           Waste Services         $80.00     $40.00   801 BOULDER DR            APT 418                 DULUTH                                      MN   55811
166   DEEP GREEN WASTE &          1103033           Waste Services         $80.00     $40.00   RECYCLING, LLC            P.O. BOX 102657         ATLANTA                                     GA   30368




                                                                                                                                                                      Desc Mai
166   ATMOS ENERGY                3018883567         Gas                $130.00     $65.00   PO 790311                                         ST. LOUIS                                  MO   63179
166   XCEL ENERGY                 53‐2834490‐1       Gas                $390.00    $195.00   PO BOX 9477                                       MINNEAPOLI MN                                   55484
167   XCEL ENERGY                 53‐0011010709‐1    Electrical          $40.00     $20.00   PO BOX 9477                                       MINNEAPOLI MN                                   55484
167   SM MESA MALL, LLC           Landlord           Lease‐Utilities    $220.00    $110.00   PO BOX 849455                                     LOS ANGELESCA                                   90084
170   MACERICH LUBBOCK LP         Landlord           Lease‐Utilities     $70.00     $35.00   PO BOX 849437                                     LOS ANGELESCA                                   90084
170   SUSTAINABLE SOLUTIONS GRP   VAN3012191         Waste Services     $100.00     $50.00   DEPT 40299                 PO BOX 740209          ATLANTA                                    GA   30374
170   MACERICH LUBBOCK LP         Landlord           Lease‐Utilities    $600.00    $300.00   PO BOX 849437                                     LOS ANGELESCA                                   90084
171   AMARILLO‐WESTGATE MALL      Landlord           Lease‐Utilities     $20.00     $10.00   AMARILLO MALL LLC          PO BOX 933881          ATLANTA                                    GA   31193
171   AMARILLO‐WESTGATE MALL      Landlord           Lease‐Utilities    $390.00    $195.00   AMARILLO MALL LLC          PO BOX 933881          ATLANTA                                    GA   31193
173   SUNSET MALL SPE L.P.        Landlord           Lease‐Utilities    $560.00    $280.00   DEPT 2017                  PO BOX 122017          DALLAS                                     TX   75312
174   PARKDALE MALL LLC           Landlord           Water               $70.00     $35.00   P.O. BOX 74942                                    CLEVELAND OH                                    44194




                                                                                                                                                                   Case 17-30112
174   SUSTAINABLE SOLUTIONS GRP   VAN3006101         Waste Services     $140.00     $70.00   DEPT 40299                 PO BOX 740209          ATLANTA                                    GA   30374
174   PARKDALE MALL LLC           Landlord           Lease‐Utilities    $830.00    $415.00   P.O. BOX 74942                                    CLEVELAND OH                                    44194
177   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities     $60.00     $30.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
177   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities    $270.00    $135.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
177   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities    $560.00    $280.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
177   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities    $820.00    $410.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
178   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities    $200.00    $100.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
178   SIMON PROPERTY GROUP        Landlord           Lease‐Utilities    $380.00    $190.00   (TX)LP                     867640 RELIABLE PARKWAY CHICAGO                                   IL   60686
179   MALL AT LONGVIEW, LLC       Landlord           Lease‐Utilities     $50.00     $25.00   PO BOX 643381                                     PITTSBURGH PA                                   15264




                                                                                                                                                                   Doc 12
179   MALL AT LONGVIEW, LLC       Landlord           Lease‐Utilities    $210.00    $105.00   PO BOX 643381                                     PITTSBURGH PA                                   15264
181   CBL‐MONROEVILLE, L.P.       Landlord           Lease‐Utilities     $50.00     $25.00   CBL #0651                  PO BOX 955607          ST. LOUIS                                  MO   63195
181   CBL‐MONROEVILLE, L.P.       Landlord           Lease‐Utilities    $100.00     $50.00   CBL #0651                  PO BOX 955607          ST. LOUIS                                  MO   63195
181   CBL‐MONROEVILLE, L.P.       Landlord           Lease‐Utilities    $680.00    $340.00   CBL #0651                  PO BOX 955607          ST. LOUIS                                  MO   63195




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181   CBL‐MONROEVILLE, L.P.       Landlord           Lease‐Utilities   $1,110.00   $555.00   CBL #0651                  PO BOX 955607          ST. LOUIS                                  MO   63195




                                                                                                                                               Document
183   VIENNA, CITY OF             004‐004‐001775‐001Water/911            $10.00      $5.00   OFFICE OF THE TREASURER    P.O. BOX 5097          VIENNA                                     WV   26105
183   INTERNATIONAL               VANITYNA           Waste Services     $140.00     $70.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                    IL   60673
183   GRAND CENTRAL MALL          Landlord           Electrical         $450.00    $225.00                              L‐2031                 COLUMBUS OH                                     43260
184   DOMINION HOPE               4 5000 3772 6437   Gas                 $50.00     $25.00   PO BOX 26783                                      RICHMOND VA                                     23261
184   MON POWER                   110 083 829 827    Electrical         $230.00    $115.00   PO BOX 3615                                       AKRON                                      OH   44309
184   INTERNATIONAL               VANITYNA           Waste Services     $250.00    $125.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE       CHICAGO                                    IL   60673
184   MON POWER                   110 083 829 827    Electrical         $820.00    $410.00   PO BOX 3615                                       AKRON                                      OH   44309




                                                                                                                                                             Page 32 of 44
185   MARKETPLACE, THE            Landlord           Lease‐Utilities     $10.00      $5.00   PO BOX 8000                DEPT 990               BUFFALO                                    NY   14267
185   MARKETPLACE, THE            Landlord           Lease‐Utilities    $290.00    $145.00   PO BOX 8000                DEPT 990               BUFFALO                                    NY   14267
185   MARKETPLACE, THE            Landlord           Lease‐Utilities   $1,120.00   $560.00   PO BOX 8000                DEPT 990               BUFFALO                                    NY   14267
190   OAKWOOD MALL 2001, LLC      Landlord           Lease‐Utilities    $740.00    $370.00   DEPT 1376                                         DENVER                                     CO   80256
199   WOODLAND HILLS MALL         Landlord           Lease‐Utilities     $30.00     $15.00   7693 COLLECTIONS CNTR DR                          CHICAGO                                    IL   60693
199   WOODLAND HILLS MALL         Landlord           Lease‐Utilities    $220.00    $110.00   7693 COLLECTIONS CNTR DR                          CHICAGO                                    IL   60693
199   WOODLAND HILLS MALL         Landlord           Lease‐Utilities    $380.00    $190.00   7693 COLLECTIONS CNTR DR                          CHICAGO                                    IL   60693
202   MALL AT WHITE OAKS LLC      Landlord           Lease‐Utilities    $220.00    $110.00   3392 PAYSPHERE CIRCLE                             CHICAGO                                    IL   60674
202   MALL AT WHITE OAKS LLC      Landlord           Lease‐Utilities    $850.00    $425.00   3392 PAYSPHERE CIRCLE                             CHICAGO                                    IL   60674
203   NORTHWOODS SHOPPING CTR     Landlord           Lease‐Utilities     $70.00     $35.00   2743/VAN///1               867950 RELIABLE PARKWAY CHICAGO                                   IL   60686
203   NORTHWOODS SHOPPING CTR     Landlord           Lease‐Utilities    $180.00     $90.00   2743/VAN///1               867950 RELIABLE PARKWAY CHICAGO                                   IL   60686
203   NORTHWOODS SHOPPING CTR     Landlord           Lease‐Utilities    $810.00    $405.00   2743/VAN///1               867950 RELIABLE PARKWAY CHICAGO                                   IL   60686
203   NORTHWOODS SHOPPING CTR     Landlord           Lease‐Utilities   $1,280.00   $640.00   2743/VAN///1               867950 RELIABLE PARKWAY CHICAGO                                   IL   60686
207   WE ENERGIES                 4607‐627‐176       Electrical/Gas     $750.00    $375.00                              PO BOX 90001           MILWAUKEE WI                                    53290




                                                                                                                                                                   Desc Mai
209   RPI TURTLE CREEK MALL,LLC   Landlord       Lease‐Utilities     $20.00     $10.00   PO BOX 643614                                       CINCINNATI OH                                   45264
209   CITY WATER & LIGHT          4‐378‐41620    Electricity        $530.00    $265.00   PO BOX 1289                                         JONESBORO AR                                    72403
210   FORT SMITH‐CENTRAL MALL     Landlord       Lease‐Utilities     $80.00     $40.00   FORT SMITH MALL LLC         P.O. BOX 934714         ATLANTA                                    GA   31193
210   FORT SMITH‐CENTRAL MALL     Landlord       Lease‐Utilities    $760.00    $380.00   FORT SMITH MALL LLC         P.O. BOX 934714         ATLANTA                                    GA   31193
212   INTERNATIONAL               10560041       Waste Services     $290.00    $145.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                    IL   60673
212   GLIMCHER NORTHTOWN          Landlord       Electrical         $350.00    $175.00   VENTURE LLC                 PO BOX 643884           CINCINNATI OH                                   45264
213   BURNSVILLE CENTER SPE,LLC   Landlord       Lease‐Utilities     $60.00     $30.00   PO BOX 74248                                        CLEVELAND OH                                    44194
213   BURNSVILLE CENTER SPE,LLC   Landlord       Lease‐Utilities    $710.00    $355.00   PO BOX 74248                                        CLEVELAND OH                                    44194
213   BURNSVILLE CENTER SPE,LLC   Landlord       Lease‐Utilities    $940.00    $470.00   PO BOX 74248                                        CLEVELAND OH                                    44194
214   HAYS, CITY OF               14204 5991     Water/Sewer         $40.00     $20.00   PO BOX 490                                          HAYS                                       KS   67601
214   IDEAL REFUSE REMOVAL        Vanity         Waste Services      $60.00     $30.00                               PO BOX 1753             HAYS                                       KS   67601




                                                                                                                                                                 Case 17-30112
214   MIDWEST ENERGY, INC.        17772559       Electrical/Gas     $580.00    $290.00   PO BOX 898                                          HAYS                                       KS   67601
217   GGP‐FOUR SEASONS LLC        Landlord       Lease‐Utilities     $40.00     $20.00   SDS‐12‐2427                 PO BOX 86               MINNEAPOLI MN                                   55486
217   GGP‐FOUR SEASONS LLC        Landlord       Lease‐Utilities    $360.00    $180.00   SDS‐12‐2427                 PO BOX 86               MINNEAPOLI MN                                   55486
217   DUKE ENERGY                 1142153685     Electrical         $390.00    $195.00   PO BOX 70516                                        CHARLOTTE NC                                    28272
217   GGP‐FOUR SEASONS LLC        Landlord       Lease‐Utilities    $860.00    $430.00   SDS‐12‐2427                 PO BOX 86               MINNEAPOLI MN                                   55486
218   SUSTAINABLE SOLUTIONS GRP   VAN3003551     Waste Services     $160.00     $80.00   DEPT 40299                  PO BOX 740209           ATLANTA                                    GA   30374
218   ASHEVILLE, CITY OF          1126708        Water/Sewer        $260.00    $130.00   PO BOX 733                                          ASHEVILLE                                  NC   28802
218   DUKE ENERGY PROGRESS        783 024 9798   Electrical         $760.00    $380.00   CENTRAL REMITTANCE          PO BOX 1003             CHARLOTTE NC                                    28201
219   JG WINSTON‐SALEM, LLC       Landlord       Lease‐Utilities     $20.00     $10.00   C/O CBL & ASSOCIATES MGMT   PO BOX 531783           ATLANTA                                    GA   30353




                                                                                                                                                                 Doc 12
219   JG WINSTON‐SALEM, LLC       Landlord       Lease‐Utilities   $1,380.00   $690.00   C/O CBL & ASSOCIATES MGMT   PO BOX 531783           ATLANTA                                    GA   30353
220   INTERNATIONAL               VANITYNA       Waste Services     $650.00    $325.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                    IL   60673
220   APACHE MALL                 Landlord       Lease‐Utilities   $1,880.00   $940.00   GGP LIMITED PARTNERSHIP     SDS‐12‐1660 PO BOX 86   MINNEAPOLI MN                                   55486
221   INTERNATIONAL               VANITYNA       Waste Services     $220.00    $110.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                    IL   60673




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221   OAK VIEW MALL LLC           Landlord       Lease‐Utilities    $470.00    $235.00   SDS‐12‐1840                 PO BOX 86               MINNEAPOLI MN                                   55486




                                                                                                                                             Document
221   OAK VIEW MALL LLC           Landlord       Lease‐Utilities   $1,670.00   $835.00   SDS‐12‐1840                 PO BOX 86               MINNEAPOLI MN                                   55486
223   BIRCHWOOD MALL‐GGP LP       Landlord       Lease‐Utilities     $40.00     $20.00   SDS‐12‐1381                 PO BOX 86               MINNEAPOLI MN                                   55486
223   SEMCO ENERGY GAS COMPANY    107804.502     Gas                $120.00     $60.00   PO BOX 740812                                       CINCINNATI OH                                   45274
223   INTERNATIONAL               VANITYNA       Waste Services     $170.00     $85.00   ENVIROMENTAL MANAGEMENT 24516 NETWORK PLACE         CHICAGO                                    IL   60673
223   BIRCHWOOD MALL‐GGP LP       Landlord       Electricity        $740.00    $370.00   SDS‐12‐1381                 PO BOX 86               MINNEAPOLI MN                                   55486
226   MAPLEWOOD MALL, LLC         Landlord       Lease‐Utilities    $350.00    $175.00   13157 COLLECTIONS CTR DR                            CHICAGO                                    IL   60693
226   MAPLEWOOD MALL, LLC         Landlord       Lease‐Utilities    $880.00    $440.00   13157 COLLECTIONS CTR DR                            CHICAGO                                    IL   60693




                                                                                                                                                           Page 33 of 44
226   MAPLEWOOD MALL, LLC         Landlord       Lease‐Utilities   $1,280.00   $640.00   13157 COLLECTIONS CTR DR                            CHICAGO                                    IL   60693
230   0302 SIMON PROP. GRP LP     Landlord       Lease‐Utilities     $80.00     $40.00   PROPERTY ID 770302          2502 RELIABLE PARKWAY   CHICAGO                                    IL   60686
230   0302 SIMON PROP. GRP LP     Landlord       Lease‐Utilities    $210.00    $105.00   PROPERTY ID 770302          2502 RELIABLE PARKWAY   CHICAGO                                    IL   60686
230   0302 SIMON PROP. GRP LP     Landlord       Lease‐Utilities    $690.00    $345.00   PROPERTY ID 770302          2502 RELIABLE PARKWAY   CHICAGO                                    IL   60686
232   AMEREN MISSOURI             8006316142     Gas                 $30.00     $15.00   PO BOX 88068                                        CHICAGO                                    IL   60680
232   COLUMBIA MALL               Landlord       Lease‐Utilities     $60.00     $30.00   SDS‐12‐1358                 PO BOX 86               MINNEAPOLI MN                                   55486
232   KETER ENVIRONMENTAL         1055079        Waste Services     $210.00    $105.00   SERVICES, INC               PO BOX 417468           BOSTON                                     MA   2241
232   COLUMBIA MALL               Landlord       Lease‐Utilities    $950.00    $475.00   SDS‐12‐1358                 PO BOX 86               MINNEAPOLI MN                                   55486
233   MIDLAND EMPIRE RETAIL,LLC   Landlord       Lease‐Utilities     $50.00     $25.00   EAST HILLS SHOPPING CTR     PO BOX 129              SHAWNEE M KS                                    66201
233   MIDLAND EMPIRE RETAIL,LLC   Landlord       Lease‐Utilities    $400.00    $200.00   EAST HILLS SHOPPING CTR     PO BOX 129              SHAWNEE M KS                                    66201
233   KCP&L                       0834 4078 59   Electrical         $430.00    $215.00   PO BOX 219703                                       KANSAS CITY MO                                  64121
234   MID RIVERS MALL, LLC        Landlord       Lease‐Utilities     $60.00     $30.00   CBL#0805                    PO BOX 955607           ST. LOUIS                                  MO   63195
234   SUSTAINABLE SOLUTIONS GRP   VAN3007041     Waste Services     $190.00     $95.00   DEPT 40299                  PO BOX 740209           ATLANTA                                    GA   30374
234   AMERN MISSOURI              0856216149     Electricty         $570.00    $285.00   PO BOX 88068                                        CHICAGO                                    IL   60680




                                                                                                                                                                 Desc Mai
235   SOUTH COUNTY MALL           Landlord           Lease‐Utilities        $80.00     $40.00   CBL #0806                   PO BOX 955607          ST. LOUIS                                  MO   63195
235   SUSTAINABLE SOLUTIONS GRP   VAN3007051         Waste Services        $170.00     $85.00   DEPT 40299                  PO BOX 740209          ATLANTA                                    GA   30374
235   AMEREN MISSOURI             1141000939         Electricity           $540.00    $270.00   PO BOX 88068                                       CHICAGO                                    IL   60680
236   NORTHPARK MALL              Landlord           Lease‐Utilities        $30.00     $15.00   CBL #0684                   PO BOX 955607          ST. LOUIS                                  MO   63195
236   EMPIRE DISTRICT             454383‐76‐1        Electrical            $740.00    $370.00   PO BOX 219239                                      KANSAS CITY MO                                  64121
244   QUINCY PLACE MALL           Landlord           Lease‐Utilities       $280.00    $140.00   C/O LEXINGTON REALTY INTL   1110 QUINCY AVE        OTTUMWA IA                                      52501
244   ALLIANT ENERGY              6800651000         Electricity/Gas       $350.00    $175.00   PO BOX 3060                                        CEDAR RAPIDIA                                   52406
245   VALLEY WEST MALL, LLC       Landlord           Lease‐Utilities       $100.00     $50.00   3100 W LAKE ST              SUITE #215             MINNEAPOLI MN                                   55416
245   VALLEY WEST MALL, LLC       Landlord           Lease‐Utilities       $700.00    $350.00   3100 W LAKE ST              SUITE #215             MINNEAPOLI MN                                   55416
250   BLACK HILLS ENERGY          7757 3148 68       Gas                   $220.00    $110.00   PO BOX 6001                                        RAPID CITY                                 SD   57709
250   GARDEN CITY, CITY OF        071239‐003         Electrical/Water/S    $350.00    $175.00   PO BOX 843938                                      KANSAS CITY MO                                  64184




                                                                                                                                                                       Case 17-30112
251   CENTRAL MALL REALTY         Landlord           Lease‐Utilities       $770.00    $385.00   HOLDING, LLC                2259 SOUTH 9TH ST      SALINA                                     KS   67401
254   HOWIE'S TRASH SERVICE       Vanity‐100 Manhatt Waste Services         $90.00     $45.00   625 S 10TH ST                                      MANHATTANKS                                     66502
254   URBANCAL MANHATTAN TWN CT   Landlord           Lease‐Utilities      $1,030.00   $515.00   PROPERTY: 623610            PO BOX 310300          DES MOINES IA                                   50331
255   WEST RIDGE MALL, LLC        Landlord           Lease‐Utilities        $50.00     $25.00   32824 COLLECTION CNTR DR                           CHICAGO                                    IL   60693
255   WEST RIDGE MALL, LLC        Landlord           Lease‐Utilities       $230.00    $115.00   32824 COLLECTION CNTR DR                           CHICAGO                                    IL   60693
255   WEST RIDGE MALL, LLC        Landlord           Lease‐Utilities       $770.00    $385.00   32824 COLLECTION CNTR DR                           CHICAGO                                    IL   60693
255   WEST RIDGE MALL, LLC        Landlord           Lease‐Utilities      $1,060.00   $530.00   32824 COLLECTION CNTR DR                           CHICAGO                                    IL   60693
271   INDIANA AMERICAN WATER      1010‐210006091283Water/911                $30.00     $15.00   PO BOX 3027                                        MILWAUKEE WI                                    53201
271   TERRE HAUTE, CITY OF        3100562453         Waste Services        $100.00     $50.00   PO BOX 21043                                       TULSA                                      OK   74121




                                                                                                                                                                       Doc 12
271   VECTREN ENERGY DELIVERY     02‐620422936‐5469 Gas                    $110.00     $55.00   PO BOX 6248                                        INDIANAPOLI IN                                  46206
271   DUKE ENERGY                 7310‐2739‐03‐2     Electrical            $300.00    $150.00   PO BOX 1326                                        CHARLOTTE NC                                    28201
272   SIMON PROPERTY GROUP LP     Landlord           Lease‐Utilities       $250.00    $125.00   2307 SIMON PROPERTY GRP     867731 RELIABLE PARKWAY CHICAGO                                   IL   60686
272   DUKE ENERGY                 5240‐3193‐03‐8     Electrical            $950.00    $475.00   PO BOX 1326                                        CHARLOTTE NC                                    28201




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275   UNIVERSAL UTILITIES, INC.   154‐00033‐04       Water                  $90.00     $45.00   PO BOX 190539                                      BURTON                                     MI   48519




                                                                                                                                                   Document
275   THE MALL OF MONROE          Landlord           Lease‐Utilities       $170.00     $85.00   PO BOX 932400                                      CLEVELAND OH                                    44193
275   DTE ENERGY                  3545 497 0001 2    Electrical            $570.00    $285.00   PO BOX 740786                                      CINCINNATI OH                                   45274
276   LSREF3 SPARTAN (GENESEE)    Landlord           Water/Sewer            $20.00     $10.00   C/O GENESEE VALLEY CENTER   3341 S LINDEN ROAD     FLINT                                      MI   48507
276   METRO WASTE SERVICES CO     158842             Waste Services         $70.00     $35.00   29131 MICHIGAN AVE          P.O. BOX 498           INKSTER                                    MI   48141
276   LSREF3 SPARTAN (GENESEE)    Landlord           Electrical            $520.00    $260.00   C/O GENESEE VALLEY CENTER   3341 S LINDEN ROAD     FLINT                                      MI   48507
276   LSREF3 SPARTAN (GENESEE)    Landlord           Lease‐Utilities       $760.00    $380.00   C/O GENESEE VALLEY CENTER   3341 S LINDEN ROAD     FLINT                                      MI   48507
277   FARBMAN GROUP 1, INC.       Landlord           Electrical           $1,020.00   $510.00   C/O THE FARBMAN GROUP INC 28400 NORTHWESTERN HWYSOUTHFIELD MI                                      48034




                                                                                                                                                                 Page 34 of 44
297   FARGO, CITY OF              6501410089         Water/Sewer           $130.00     $65.00   P.O. BOX 1066                                      FARGO                                      ND   58107
297   MINNKOTA                    Vanity E Warehouse Compactor             $130.00     $65.00   PO BOX 1864                                        FARGO                                      ND   58107
297   WASTE MANAGEMENT OF WI‐MN   17‐00811‐73008     Waste Services        $130.00     $65.00   PO BOX 4648                                        CAROL STREAIL                                   60197
297   XCEL ENERGY                 51‐8583456‐2       Electrical/Gas       $1,390.00   $695.00   PO BOX 9477                                        MINNEAPOLI MN                                   55484
2     CENTURY LINK                218 722‐3948       Telephone              $40.00     $20.00   PO BOX 91154                                       SEATTLE                                    WA   98111
2     POMEROY IT SOLUTIONS        20497              Broadband             $180.00     $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049         CINCINNATI OH                                   45263
3     CENTURY LINK                701 772‐3024       Telephone              $90.00     $45.00   PO BOX 91154                                       SEATTLE                                    WA   98111
3     POMEROY IT SOLUTIONS        20497              Broadband             $160.00     $80.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049         CINCINNATI OH                                   45263
4     CENTURY LINK                701 255‐0556       Telephone             $130.00     $65.00   PO BOX 91154                                       SEATTLE                                    WA   98111
4     POMEROY IT SOLUTIONS        20497              Broadband             $190.00     $95.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049         CINCINNATI OH                                   45263
5     CENTURY LINK                701 282 0486       Telephone              $50.00     $25.00   PO BOX 91154                                       SEATTLE                                    WA   98111
5     POMEROY IT SOLUTIONS        20497              Broadband             $190.00     $95.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049         CINCINNATI OH                                   45263
7     POMEROY IT SOLUTIONS        20497              Broadband              $80.00     $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049         CINCINNATI OH                                   45263
7     CENTURY LINK                218 739‐4338       Telephone             $200.00    $100.00   PO BOX 91154                                       SEATTLE                                    WA   98111




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8    POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
8    CENTURY LINK                218 828‐5021      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
9    POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
9    CENTURY LINK                218 751‐9066      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
10   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
10   CENTURY LINK                320 231‐1407      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
11   CENTURY LINK                605 361‐3330      Telephone     $40.00    $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
11   POMEROY IT SOLUTIONS        20497             Broadband    $190.00    $95.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
12   CONSOLIDATED                154894            Telephone     $90.00    $45.00   COMMUNICATIONS              PO BOX 3188      MILWAUKEE WI                                    53201
12   POMEROY IT SOLUTIONS        20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
13   FRONTIER                    208‐762‐2115‐10280Telephone     $90.00    $45.00   PO BOX 740407                                CINCINNATI OH                                   45274




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13   POMEROY IT SOLUTIONS        20497             Broadband    $170.00    $85.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
15   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
15   CENTURY LINK                406‐652‐2464 340B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
16   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
16   CENTURY LINK                406‐586‐2715 985B Telephone    $170.00    $85.00   PO BOX 91155                                 SEATTLE                                    WA   98111
18   CENTURY LINK                605 341‐1580      Telephone     $40.00    $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
18   POMEROY IT SOLUTIONS        20497             Broadband    $190.00    $95.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
19   POMEROY IT SOLUTIONS        20497             Broadband     $90.00    $45.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
19   CENTURY LINK                701 225‐6822      Telephone    $170.00    $85.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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20   NEMONT                      1056600           Telephone    $100.00    $50.00   PO BOX 600                                   SCOBEY                                     MT   59263
20   POMEROY IT SOLUTIONS        20497             Broadband    $160.00    $80.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
22   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
22   CENTURY LINK                218 847‐1216      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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25   CENTURY LINK                605 882‐2273      Telephone     $90.00    $45.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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25   POMEROY IT SOLUTIONS        20497             Broadband    $160.00    $80.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
26   SRT                         1344100           Telephone     $40.00    $20.00   PO BOX 2027                                  MINOT                                      ND   58702
26   SRT                         2051800           Telephone     $50.00    $25.00   PO BOX 2027                                  MINOT                                      ND   58702
26   POMEROY IT SOLUTIONS        20497             Broadband    $160.00    $80.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
27   CENTURY LINK                320 252‐7877      Telephone     $40.00    $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
27   POMEROY IT SOLUTIONS        20497             Broadband    $180.00    $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
28   CENTURY LINK                712 274‐1117      Telephone     $40.00    $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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28   POMEROY IT SOLUTIONS        20497             Broadband    $180.00    $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
31   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
31   CENTURY LINK                313539723         Telephone    $140.00    $70.00   PO BOX 2961                                  PHOENIX                                    AZ   85062
32   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
32   CENTURY LINK                218 326‐2205      Telephone    $200.00   $100.00   PO BOX 91154                                 SEATTLE                                    WA   98111
35   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
35   CENTURY LINK                406‐494‐3536 148B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
36   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
36   CENTURY LINK                406‐727‐1826 807B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
42   POMEROY IT SOLUTIONS        20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
42   CENTURY LINK                218 749‐6721      Telephone    $170.00    $85.00   PO BOX 91154                                 SEATTLE                                    WA   98111
46   AT&T                        608 758‐9381 988 6 Telephone   $100.00    $50.00   PO BOX 5080                                  CAROL STREAIL                                   60197
46   POMEROY IT SOLUTIONS        20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
47   GRANITE TELECOMMUNICATION   3671889           Telephone    $130.00    $65.00   CLIENT ID #311              PO BOX 983119    BOSTON                                     MA   2298




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47   POMEROY IT SOLUTIONS   20497             Broadband    $170.00    $85.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
48   AT&T                   414 423‐8601 6959 Telephone    $100.00    $50.00   PO BOX 5080                                  CAROL STREAIL                                   60197
48   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
49   AT&T                   248 454‐1175 569 8 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
49   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
51   FRONTIER               715‐842‐70007‐0302Telephone    $110.00    $55.00   PO BOX 740407                                CINCINNATI OH                                   45274
51   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
54   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
54   AT&T                   816 795‐7624 994 3 Telephone   $130.00    $65.00   PO BOX 5001                                  CAROL STREAIL                                   60197
60   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
60   WINDSTREAM             90249391          Telephone    $250.00   $125.00   P.O. BOX 9001908                             LOUISVILLE KY                                   40290




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61   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
61   CENTURY LINK           402 391‐1564      Telephone    $170.00    $85.00   PO BOX 91154                                 SEATTLE                                    WA   98111
65   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
65   CENTURY LINK           308 384‐9186      Telephone    $180.00    $90.00   PO BOX 91154                                 SEATTLE                                    WA   98111
66   FRONTIER               308‐237‐2747‐04018Telephone    $120.00    $60.00   PO BOX 740407                                CINCINNATI OH                                   45274
66   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
67   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
67   CENTURY LINK           313194598         Telephone    $160.00    $80.00   PO BOX 2961                                  PHOENIX                                    AZ   85062
68   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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68   CENTURY LINK           402 371‐6377      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
69   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
69   CENTURY LINK           308 534‐1717      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
70   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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70   CENTURY LINK           208‐237‐0387 230B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111




                                                                                                                            Document
71   CENTURY LINK           208‐524‐0433 657B Telephone     $80.00    $40.00   PO BOX 91155                                 SEATTLE                                    WA   98111
71   POMEROY IT SOLUTIONS   20497             Broadband    $180.00    $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
72   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
72   CENTURY LINK           208‐734‐7926 609B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
73   CENTURY LINK           515 223‐8137      Telephone     $80.00    $40.00   PO BOX 91154                                 SEATTLE                                    WA   98111
73   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
74   CENTURY LINK           208‐375‐3512 770B Telephone     $80.00    $40.00   PO BOX 91155                                 SEATTLE                                    WA   98111




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74   POMEROY IT SOLUTIONS   20497             Broadband    $180.00    $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
75   CENTURY LINK           509 487‐4889 817B Telephone     $40.00    $20.00   PO BOX 91155                                 SEATTLE                                    WA   98111
75   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
76   CENTURY LINK           509‐927‐1404 100B Telephone     $90.00    $45.00   PO BOX 91155                                 SEATTLE                                    WA   98111
76   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
77   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
77   CENTURY LINK           641 423‐2013      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
78   CENTURY LINK           801‐392‐0362 044B Telephone    $100.00    $50.00   PO BOX 91155                                 SEATTLE                                    WA   98111
78   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
80   AT&T                   616 257‐3025 552 7 Telephone    $80.00    $40.00   PO BOX 5080                                  CAROL STREAIL                                   60197
80   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
81   CENTURY LINK           310299424         Telephone    $110.00    $55.00   PO BOX 1319                                  CHARLOTTE NC                                    28201
81   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
82   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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82    AT&T                   615 895‐0431 358 04Telephone   $130.00    $65.00   PO BOX 105262                                ATLANTA                                    GA   30348
83    POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
83    AT&T                   931 906‐1849 646 04Telephone   $300.00   $150.00   PO BOX 105262                                ATLANTA                                    GA   30348
84    AT&T                   989 791‐4027 320 4 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
84    POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
88    POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
88    CENTURY LINK           435‐752‐3070 120B Telephone    $210.00   $105.00   PO BOX 91155                                 SEATTLE                                    WA   98111
90    POMEROY IT SOLUTIONS   20497             Broadband     $40.00    $20.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
90    AT&T                   440 266‐1620 549 9 Telephone   $140.00    $70.00   PO BOX 5080                                  CAROL STREAIL                                   60197
92    POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
92    AT&T                   270 846‐0580 203 04Telephone   $270.00   $135.00   PO BOX 105262                                ATLANTA                                    GA   30348




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94    POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
94    CENTURY LINK           801‐546‐0012 428B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
96    AT&T                   517 347‐1709 809 7 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
96    POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
98    AT&T                   608 242‐1012 253 4 Telephone   $100.00    $50.00   PO BOX 5080                                  CAROL STREAIL                                   60197
98    POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
100   AT&T                   740 695‐0085 312 5 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
100   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
104   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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104   AT&T                   715 833‐8535 955 1 Telephone   $160.00    $80.00   PO BOX 5080                                  CAROL STREAIL                                   60197
105   CENTURY LINK           301357714         Telephone     $80.00    $40.00   PO BOX 4300                                  CAROL STREAIL                                   60197
105   POMEROY IT SOLUTIONS   20497             Broadband    $140.00    $70.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
106   AT&T                   920 498‐900 734 2 Telephone     $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197




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106   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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108   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
108   FRONTIER               260‐484‐1510‐12260Telephone    $130.00    $65.00   PO BOX 740407                                CINCINNATI OH                                   45274
109   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
109   AT&T                   812 330‐7240 906 5 Telephone   $110.00    $55.00   PO BOX 5080                                  CAROL STREAIL                                   60197
110   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
110   AT&T                   765 287‐1084 755 0 Telephone   $160.00    $80.00   PO BOX 5080                                  CAROL STREAIL                                   60197
111   CENTURY LINK           605 225‐6408      Telephone     $40.00    $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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111   POMEROY IT SOLUTIONS   20497             Broadband    $190.00    $95.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
112   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
112   AT&T                   317 884‐1125 110 3 Telephone   $160.00    $80.00   PO BOX 5080                                  CAROL STREAIL                                   60197
114   AT&T                   937 429‐0724 901 8 Telephone    $10.00     $5.00   PO BOX 5080                                  CAROL STREAIL                                   60197
114   AT&T                   937 429‐0724 901 8 Telephone   $130.00    $65.00   PO BOX 5080                                  CAROL STREAIL                                   60197
114   POMEROY IT SOLUTIONS   20497             Broadband    $140.00    $70.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
115   AT&T                   937 433‐2522 137 1 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
115   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
116   POMEROY IT SOLUTIONS   20497             Broadband     $90.00    $45.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
116   CENTURY LINK           454352891         Telephone    $360.00   $180.00   PO BOX 4300                                  CAROL STREAIL                                   60197
117   AT&T                   330 695‐1822 160 1 Telephone   $130.00    $65.00   PO BOX 5080                                  CAROL STREAIL                                   60197
117   POMEROY IT SOLUTIONS   20497             Broadband    $140.00    $70.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
122   CENTURY LINK           801‐572‐2660 770B Telephone     $90.00    $45.00   PO BOX 91155                                 SEATTLE                                    WA   98111
122   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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124   CINCINNATI BELL        513‐671‐29999 992 Telephone     $70.00    $35.00   PO BOX 748003                                CINCINNATI OH                                   45274
124   POMEROY IT SOLUTIONS   20497             Broadband     $90.00    $45.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
124   CINCINNATI BELL        513‐671‐0434 544 Telephone     $180.00    $90.00   PO BOX 748003                                CINCINNATI OH                                   45274
126   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
126   CENTURY LINK           406‐721‐1299 402B Telephone    $160.00    $80.00   PO BOX 91155                                 SEATTLE                                    WA   98111
128   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
128   CENTURY LINK           304‐472‐5226 616B Telephone    $170.00    $85.00   PO BOX 91155                                 SEATTLE                                    WA   98111
129   CENTURY LINK           307‐635‐1006 458B Telephone     $80.00    $40.00   PO BOX 91155                                 SEATTLE                                    WA   98111
129   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
130   CENTURY LINK           319 235‐7749      Telephone     $80.00    $40.00   PO BOX 91154                                 SEATTLE                                    WA   98111
130   POMEROY IT SOLUTIONS   20497             Broadband    $460.00   $230.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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131   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
131   CENTURY LINK           319 277‐3365      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
132   FRONTIER               515‐955‐4988‐06059Telephone    $100.00    $50.00   PO BOX 740407                                CINCINNATI OH                                   45274
132   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
133   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
133   CENTURY LINK           515 233‐6194      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
136   POMEROY IT SOLUTIONS   20497             Broadband     $90.00    $45.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
136   CENTURY LINK           302313204         Telephone    $190.00    $95.00   PO BOX 4300                                  CAROL STREAIL                                   60197
137   CENTURY LINK           319 363‐4002      Telephone     $70.00    $35.00   PO BOX 91154                                 SEATTLE                                    WA   98111




                                                                                                                                                 Doc 12
137   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
138   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
138   CENTURY LINK           563 588‐2840      Telephone    $160.00    $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
139   CENTURY LINK           319 754‐8202      Telephone     $80.00    $40.00   PO BOX 91154                                 SEATTLE                                    WA   98111




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139   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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140   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
140   AT&T                   815 220‐8240 476 0 Telephone   $140.00    $70.00   PO BOX 5080                                  CAROL STREAIL                                   60197
141   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
141   AT&T                   618 622‐3598 626 4 Telephone   $140.00    $70.00   PO BOX 5080                                  CAROL STREAIL                                   60197
143   FRONTIER               815‐332‐3078‐02241Telephone     $80.00    $40.00   PO BOX 740407                                CINCINNATI OH                                   45274
143   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
145   AT&T                   586 532‐6140 913 5 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197




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145   POMEROY IT SOLUTIONS   20497             Broadband    $130.00    $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
147   AT&T                   217 228‐9123 697 3 Telephone    $80.00    $40.00   PO BOX 5080                                  CAROL STREAIL                                   60197
147   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
148   POMEROY IT SOLUTIONS   20497             Broadband    $100.00    $50.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
148   CINCINNATI BELL        859‐282‐0555 222 Telephone     $120.00    $60.00   PO BOX 748003                                CINCINNATI OH                                   45274
152   AT&T                   740 452‐4486 743 4 Telephone    $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
152   POMEROY IT SOLUTIONS   20497             Broadband    $120.00    $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
163   POMEROY IT SOLUTIONS   20497             Broadband    $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
163   FRONTIER               509‐735‐7049‐01140Telephone    $130.00    $65.00   PO BOX 740407                                CINCINNATI OH                                   45274
164   CENTURY LINK           719‐380‐9490 058B Telephone     $80.00    $40.00   PO BOX 91155                                 SEATTLE                                    WA   98111
164   POMEROY IT SOLUTIONS   20497             Broadband    $150.00    $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
165   POMEROY IT SOLUTIONS   20497             Broadband     $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
165   CENTURY LINK           719‐544‐5914 623B Telephone    $170.00    $85.00   PO BOX 91155                                 SEATTLE                                    WA   98111
166   CENTURY LINK           970‐352‐5532 435B Telephone     $90.00    $45.00   PO BOX 91155                                 SEATTLE                                    WA   98111




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166   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
167   CENTURY LINK           970‐245‐7124 059B Telephone    $110.00   $55.00   PO BOX 91155                                 SEATTLE                                    WA   98111
167   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
170   AT&T                   806 793‐6989 275 1 Telephone    $70.00   $35.00   PO BOX 105414                                ATLANTA                                    GA   30348
170   POMEROY IT SOLUTIONS   20497             Broadband    $170.00   $85.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
171   POMEROY IT SOLUTIONS   20497             Broadband    $120.00   $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
171   AT&T                   806 355‐7704 276 1 Telephone   $130.00   $65.00   PO BOX 105414                                ATLANTA                                    GA   30348
173   POMEROY IT SOLUTIONS   20497             Broadband    $120.00   $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
173   FRONTIER               325‐942‐0400‐07210Telephone    $120.00   $60.00   PO BOX 740407                                CINCINNATI OH                                   45274
174   POMEROY IT SOLUTIONS   20497             Broadband    $120.00   $60.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
174   AT&T                   409 899‐8655 795 3 Telephone   $130.00   $65.00   PO BOX 105414                                ATLANTA                                    GA   30348




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177   POMEROY IT SOLUTIONS   20497             Broadband     $40.00   $20.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
177   FRONTIER               972‐675‐2222‐03141Telephone    $130.00   $65.00   PO BOX 740407                                CINCINNATI OH                                   45274
178   AT&T                   903 581‐4114 176 5 Telephone   $120.00   $60.00   PO BOX 105414                                ATLANTA                                    GA   30348
178   POMEROY IT SOLUTIONS   20497             Broadband    $140.00   $70.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
179   POMEROY IT SOLUTIONS   20497             Broadband     $40.00   $20.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
179   AT&T                   903 234‐8996 086 1 Telephone   $140.00   $70.00   PO BOX 105414                                ATLANTA                                    GA   30348
181   VERIZON                412 373‐0918 394 4 Telephone    $80.00   $40.00   PO BOX 15124                                 ALBANY                                     NY   12212
181   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
183   FRONTIER               304‐485‐0950‐06030Telephone    $110.00   $55.00   PO BOX 740407                                CINCINNATI OH                                   45274




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183   POMEROY IT SOLUTIONS   20497             Broadband    $150.00   $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
184   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
184   WEST SIDE TELECOMM     7806              Telephone    $150.00   $75.00   1451 FAIRMONT RD                             MORGANTOWWV                                     26501
185   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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185   FRONTIER               585‐272‐0005‐04211Telephone    $140.00   $70.00   PO BOX 740407                                CINCINNATI OH                                   45274




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190   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
190   AT&T                   580 242‐2887 666 1 Telephone   $130.00   $65.00   PO BOX 105414                                ATLANTA                                    GA   30348
199   POMEROY IT SOLUTIONS   20497             Broadband     $80.00   $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
199   WINDSTREAM             100065815         Telephone    $190.00   $95.00   P.O. BOX 9001908                             LOUISVILLE KY                                   40290
202   AT&T                   217 546‐5322 289 1 Telephone    $90.00   $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
202   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
203   AT&T                   309 682‐3110 731 1 Telephone   $140.00   $70.00   PO BOX 5080                                  CAROL STREAIL                                   60197




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203   POMEROY IT SOLUTIONS   20497             Broadband    $150.00   $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
207   POMEROY IT SOLUTIONS   20497             Broadband    $140.00   $70.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
207   AT&T                   262 786‐1681 341 2 Telephone   $150.00   $75.00   PO BOX 5080                                  CAROL STREAIL                                   60197
209   AT&T                   870 336‐2691 831 9 Telephone   $130.00   $65.00   PO BOX 105414                                ATLANTA                                    GA   30348
209   POMEROY IT SOLUTIONS   20497             Broadband    $180.00   $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
210   AT&T                   479 452‐7095 840 9 Telephone    $70.00   $35.00   PO BOX 105414                                ATLANTA                                    GA   30348
210   POMEROY IT SOLUTIONS   20497             Broadband    $160.00   $80.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
212   CENTURY LINK           763 780‐4277      Telephone     $40.00   $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
212   POMEROY IT SOLUTIONS   20497             Broadband    $180.00   $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
213   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
213   FRONTIER               952‐898‐9525‐07011Telephone    $140.00   $70.00   PO BOX 740407                                CINCINNATI OH                                   45274
214   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
214   AT&T                   785 625‐7121 974 6 Telephone   $130.00   $65.00   PO BOX 5001                                  CAROL STREAIL                                   60197
217   AT&T                   336 316‐1985 050 1 Telephone   $140.00   $70.00   PO BOX 105262                                ATLANTA                                    GA   30348




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217   POMEROY IT SOLUTIONS   20497             Broadband    $150.00   $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
218   POMEROY IT SOLUTIONS   20497             Broadband     $40.00   $20.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
218   AT&T                   828 298‐7627 002 3 Telephone   $190.00   $95.00   PO BOX 105262                                ATLANTA                                    GA   30348
219   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
219   AT&T                   336 760‐6800 785 1 Telephone   $140.00   $70.00   PO BOX 105262                                ATLANTA                                    GA   30348
220   CENTURY LINK           507 252‐9481      Telephone     $90.00   $45.00   PO BOX 91154                                 SEATTLE                                    WA   98111
220   POMEROY IT SOLUTIONS   20497             Broadband    $180.00   $90.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
221   CENTURY LINK           402 334‐5284      Telephone     $80.00   $40.00   PO BOX 91154                                 SEATTLE                                    WA   98111
221   POMEROY IT SOLUTIONS   20497             Broadband    $150.00   $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
223   AT&T                   810 385‐0223 956 4 Telephone    $90.00   $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
223   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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226   CENTURY LINK           651 748‐5969      Telephone     $40.00   $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
226   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
230   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
230   AT&T                   417 882‐7119 041 6 Telephone   $120.00   $60.00   PO BOX 5001                                  CAROL STREAIL                                   60197
232   CENTURY LINK           458703850         Telephone     $80.00   $40.00   PO BOX 4300                                  CAROL STREAIL                                   60197
232   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
233   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
233   AT&T                   818 364‐2211 080 2 Telephone   $130.00   $65.00   PO BOX 5001                                  CAROL STREAIL                                   60197
234   CENTURY LINK           455091364         Telephone     $90.00   $45.00   PO BOX 4300                                  CAROL STREAIL                                   60197




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234   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
235   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
235   AT&T                   314 894‐4453 397 8 Telephone   $110.00   $55.00   PO BOX 5001                                  CAROL STREAIL                                   60197
236   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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236   AT&T                   417 659‐9893 518 2 Telephone   $120.00   $60.00   PO BOX 5001                                  CAROL STREAIL                                   60197




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244   CENTURY LINK           641 682‐8991      Telephone     $40.00   $20.00   PO BOX 91154                                 SEATTLE                                    WA   98111
244   POMEROY IT SOLUTIONS   20497             Broadband    $150.00   $75.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
245   POMEROY IT SOLUTIONS   20497             Broadband     $80.00   $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
245   CENTURY LINK           515 222‐0150      Telephone    $160.00   $80.00   PO BOX 91154                                 SEATTLE                                    WA   98111
250   POMEROY IT SOLUTIONS   20497             Broadband    $170.00   $85.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
250   AT&T                   620 275‐5500 833 1 Telephone   $190.00   $95.00   PO BOX 5001                                  CAROL STREAIL                                   60197
251   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263




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251   AT&T                   785 825‐0385 159 8 Telephone   $130.00   $65.00   PO BOX 5001                                  CAROL STREAIL                                   60197
254   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
254   AT&T                   785 537‐3339 899 9 Telephone   $190.00   $95.00   PO BOX 5001                                  CAROL STREAIL                                   60197
255   AT&T                   785 271‐0177 826 3 Telephone   $130.00   $65.00   PO BOX 5001                                  CAROL STREAIL                                   60197
255   POMEROY IT SOLUTIONS   20497             Broadband    $170.00   $85.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
263   POMEROY IT SOLUTIONS   20497             Broadband    $130.00   $65.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
264   VERIZON WIRELESS       681043326‐00001 Cell Phones    $160.00   $80.00   PO BOX 25505                                 LEHIGH VALL PA                                  18002
271   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
271   FRONTIER               812‐235‐5944‐03020Telephone    $130.00   $65.00   PO BOX 740407                                CINCINNATI OH                                   45274
272   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
272   FRONTIER               765‐448‐7910‐09220Telephone    $120.00   $60.00   PO BOX 740407                                CINCINNATI OH                                   45274
275   POMEROY IT SOLUTIONS   20497             Broadband    $110.00   $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
275   AT&T                   734 457‐5770 715 9 Telephone   $130.00   $65.00   PO BOX 5080                                  CAROL STREAIL                                   60197
276   AT&T                   810 720‐1160 438 4 Telephone   $100.00   $50.00   PO BOX 5080                                  CAROL STREAIL                                   60197




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276   POMEROY IT SOLUTIONS             20497             Broadband      $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
277   AT&T                             989 832‐8476 848 3 Telephone      $90.00    $45.00   PO BOX 5080                                  CAROL STREAIL                                   60197
277   POMEROY IT SOLUTIONS             20497             Broadband      $110.00    $55.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
297   VERIZON WIRELESS                 681043326‐00001 Cell Phones       $60.00    $30.00   PO BOX 25505                                 LEHIGH VALL PA                                  18002
297   CENTURY LINK                     701 232‐1236      Telephone       $60.00    $30.00   PO BOX 91154                                 SEATTLE                                    WA   98111
297   POMEROY IT SOLUTIONS             20497             Broadband       $80.00    $40.00   POMEROY IT SOLUTIONS SALES C PO BOX 631049   CINCINNATI OH                                   45263
297   CONSOLIDATED                     953426            DSL            $910.00   $455.00   COMMUNICATIONS              PO BOX 3188      MILWAUKEE WI                                    53201
2     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
3     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
4     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
5     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072




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7     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
8     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
9     CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
10    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
11    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
12    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
13    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
15    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
16    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072




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18    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
19    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
20    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
22    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072




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25    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072




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26    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
27    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $20.00    $10.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
28    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
31    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
32    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
35    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
36    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072




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42    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
44    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
46    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $20.00    $10.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
47    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
48    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
49    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
51    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
54    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
61    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
65    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $20.00    $10.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
66    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $20.00    $10.00   PO BOX 52187                                 PHOENIX                                    AZ   85072
67    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
68    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD     $5.00     $2.50   PO BOX 52187                                 PHOENIX                                    AZ   85072
69    CENTURY LINK BUSINESS SERVICES   79422327          Telephone/LD    $10.00     $5.00   PO BOX 52187                                 PHOENIX                                    AZ   85072




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70    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
71    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $20.00   $10.00   PO BOX 52187                       PHOENIX                                    AZ   85072
72    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $30.00   $15.00   PO BOX 52187                       PHOENIX                                    AZ   85072
73    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
74    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
75    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
76    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
77    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
78    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
80    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
81    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072




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82    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
82    CENTURY LINK                     1395323856   Telephone/LD   $10.00    $5.00   BUSINESS SERVICES   PO BOX 52187   PHOENIX                                    AZ   85072
83    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
84    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
87    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
88    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $30.00   $15.00   PO BOX 52187                       PHOENIX                                    AZ   85072
90    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
92    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
94    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072




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96    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $20.00   $10.00   PO BOX 52187                       PHOENIX                                    AZ   85072
98    CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
100   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $20.00   $10.00   PO BOX 52187                       PHOENIX                                    AZ   85072
104   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072




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105   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $20.00   $10.00   PO BOX 52187                       PHOENIX                                    AZ   85072




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106   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
108   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
109   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
110   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
111   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
112   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
114   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072




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115   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
117   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $20.00   $10.00   PO BOX 52187                       PHOENIX                                    AZ   85072
122   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
124   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
126   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
128   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
129   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
130   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
131   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
132   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
133   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
136   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072
137   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD    $5.00    $2.50   PO BOX 52187                       PHOENIX                                    AZ   85072
138   CENTURY LINK BUSINESS SERVICES   79422327     Telephone/LD   $10.00    $5.00   PO BOX 52187                       PHOENIX                                    AZ   85072




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139   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
140   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
141   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
143   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $40.00   $20.00   PO BOX 52187   PHOENIX                                    AZ   85072
145   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
147   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
148   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
152   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
163   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
164   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
165   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072




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166   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
167   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
170   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
171   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
173   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
174   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
176   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
177   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
178   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072




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179   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
181   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $40.00   $20.00   PO BOX 52187   PHOENIX                                    AZ   85072
183   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
184   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072




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185   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072




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190   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
199   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
202   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD    $5.00    $2.50   PO BOX 52187   PHOENIX                                    AZ   85072
203   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
207   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $50.00   $25.00   PO BOX 52187   PHOENIX                                    AZ   85072
209   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
210   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072




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212   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
213   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
214   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
217   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
219   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
220   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
221   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
221   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
223   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
226   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
230   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
232   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $10.00    $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
233   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
234   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD   $20.00   $10.00   PO BOX 52187   PHOENIX                                    AZ   85072




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235   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
236   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $20.00      $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
244   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
245   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
250   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $30.00      $15.00   PO BOX 52187   PHOENIX                                    AZ   85072
251   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
254   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $70.00      $35.00   PO BOX 52187   PHOENIX                                    AZ   85072
255   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $20.00      $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
271   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
272   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
275   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072




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276   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
277   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $20.00      $10.00   PO BOX 52187   PHOENIX                                    AZ   85072
297   CENTURY LINK BUSINESS SERVICES   79422327   Telephone/LD       $10.00       $5.00   PO BOX 52187   PHOENIX                                    AZ   85072
                                                                 $167,445.00 $83,722.50




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